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10
                               UNITED STATES DISTRICT COURT
11                           NORTHERN DISTRICT OF CALIFORNIA
12

13   DANIEL VALENTI, Individually and On Behalf      Case No.:
     of All Others Similarly Situated,
14                                                   CLASS ACTION COMPLAINT
                                Plaintiff,
15
                   v.
16                                                   JURY TRIAL DEMANDED
     DFINITY USA RESEARCH LLC, DFINITY
17   FOUNDATION, and DOMINIC WILLIAMS,

18                              Defendants.

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 1           Plaintiff, Daniel Valenti, individually and on behalf of all others similarly situated, brings
 2   this action against Defendants, DFINITY USA Research LLC (“Dfinity USA”), DFINITY
 3   Foundation (the “Foundation”, and with Dfinity USA, “Dfinity”), and Dominic Williams. Plaintiff
 4   bases his allegations as to his own acts upon personal knowledge, and upon information and belief
 5   as to the matters based on his attorneys’ investigation. Plaintiff believes that discovery will reveal
 6   substantial additional evidence for the allegations herein. Plaintiff hereby alleges as follows:
 7   I.     INTRODUCTION
 8                  Within the Class Period, from May 10, 2021, through the present, Defendants have
 9   promoted, offered, and sold throughout the United States unregistered securities called “ICP
10   tokens,” and have engaged in insider trading of such securities, in violation of federal law. 1
11                  Defendants did not register ICP as a security with the Securities Exchange
12   Commission (“SEC”); did not qualify for an exemption from the registration requirements;
13   materially defrauded investors in connection with the promotion, offering, and sale of ICP; and have
14   transacted in ICP in the Class Period while in possession of material, non-public information.
15                  On behalf of investors who have purchased ICP in the United States, and who have
16   done so contemporaneously with Defendants’ insider trading, Plaintiff brings suit to recover from
17   Defendants the consideration paid for the ICP tokens, together with interest thereon; and to recover
18   from Defendants their profits resulting from Defendants’ fraudulent conduct and insider trading.
19                  Dfinity was required to file registration statements with the SEC for its sale of ICP,
20   but failed to do so. By selling and promoting these unregistered security tokens to investors, and by
21   transacting in them while in possession of material, non-public information, Defendants have reaped
22   billions of dollars in profits.
23                  Starting in early 2017, Williams, the founder of Dfinity, began promoting his “Internet
24   Computer” blockchain. Along with other employees of the Foundation and Dfinity USA, Williams
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       ICP was formerly referred to as “DFN.” For clarity, the Complaint refers to the token as ICP
     throughout the relevant time period, but the two terms refer to the same digital token.
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 1   wrote about the Internet Computer’s promise in various internet posts, aimed at investors, that
 2   described the supposed utility of Dfinity’s eventual network. The main purpose of these posts was
 3   to drum up demand for an ICO in 2018.
 4                 Understanding the legal repercussions for selling unregistered securities as SEC
 5   crackdowns began during this period, Defendants delayed their 2018 ICO, bided their time, and
 6   continued to drum up demand and hype for ICP through posts. These posts, however, omitted the
 7   disclosures that securities laws and the SEC have deemed essential to investor protections in initial
 8   public offerings, including use of “plain English” to describe the offering; a required list of key risk
 9   factors; a description of key information and incentives concerning management; an explanation of
10   how the proceeds from the offering would be used; and a standardized format that investors could
11   readily follow. Without these critical risk disclosures, investors in ICP tokens were thus left to fend
12   for themselves—precisely the opposite of what the securities laws require.
13                 After thus generating hype regarding the ICP tokens for years, Defendants finally sold
14   ICP tokens to retail investors beginning on May 10, 2021. These Defendants thereby promoted,
15   offered, and sold ICP through generalized solicitations using statements posted on the Internet and
16   distributed throughout the United States and the rest of the world, such that these Defendants offered
17   and sold the securities to Plaintiff and the general public in the United States.
18                 Defendants kept for themselves and sold into the market billions of dollars’ worth of
19   ICP tokens. After insiders began to sell massive quantities of these ICP tokens, and while Plaintiff
20   and the other Class members were transacting in ICP tokens, the price of ICP tokens fell from a
21   high of over $730 after issuance to around $60 today. Even by the volatile standards of the
22   cryptocurrency market, this constituted an astonishing collapse in value.
23                 Defendants and related insiders had kept approximately 50% of the ICP tokens for
24   themselves and solicited online exchanges of digital assets (known as “cryptocurrency exchanges”)
25   to list ICP tokens on their platforms and encourage purchases by a wide universe of investors.
26   Defendants thus dumped massive amounts of ICP tokens on the open market, securing billions of
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 1   dollars of profits for themselves and driving the price down—all without any disclosure to the
 2   market of their intent to do so.
 3                 Although ICP is a security, Dfinity did not register it as a security with the SEC and
 4   did not qualify for an exemption from registration requirements. The SEC’s detailed “Framework”
 5   for analyzing digital assets, issued on April 3, 2019, indicates that ICP and other similar digital
 6   tokens are “investment contracts” and therefore securities under Section 2 of the Securities Act of
 7   1933 (the “Securities Act”), 15 U.S.C. § 77b(a)(1).2 Indeed, since the release of the Framework, the
 8   SEC has found the sale of comparable cryptocurrencies violated the Securities Act prohibition
 9   against the sale of unregistered securities.
10                 Defendants thus engaged in transactions that consisted of the solicitation, offer, and
11   sale of securities without registering them as federal laws require for the protection of investors; and
12   they transacted in these securities while in possession of material, non-public information while
13   Plaintiff and the other Class members contemporaneously transacted in ICP.
14                 Plaintiff and the other Class members are entitled to recover the consideration they
15   paid for the ICP tokens with interest thereon at the legal rate, or the equivalent in monetary damages
16   plus interest at the legal rate, or else for their net losses. Plaintiff and the other Class members are
17   further entitled to recover Defendants’ ill-gotten gain from their misconduct.
18   II.     PARTIES
19                 Plaintiff, Daniel Valenti, is a resident of Tampa, Florida. Plaintiff purchased ICP
20   tokens, on Coinbase, beginning on May 10, 2021. Plaintiff purchased 45.2504 ICP tokens on May
21   10, 2021, and thereafter regularly transacted in ICP tokens through August 3, 2021. On his
22   transactions in ICP tokens through that date, Plaintiff suffered substantial loss.
23                 Defendant DFINITY USA Research, LLC is a Delaware company headquartered in
24   Palo Alto, California, at 411 Acacia Avenue.
25
     2 Framework for “Investment Contract” Analysis of Digital Assets, SEC (April 3, 2019),
26   https://www.sec.gov/corpfin/framework-investment-contract-analysis-digital-assets#_ednref1.
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 1                  Defendant DFINITY Foundation is a Switzerland-based not-for-profit organization,
 2   with operations and employees in Palo Alto and San Francisco, California, in Zurich, Switzerland,
 3   and in Tokyo, Japan.
 4                  Defendant Dominic Williams is the founder, President, and Chief Scientist of the
 5   Foundation and the CEO of Dfinity USA. Williams has resided in Palo Alto, California, since 2012.
 6   III.     JURISDICTION AND VENUE
 7                  The Court has jurisdiction under 28 U.S.C. § 1331 because Plaintiff brings claims
 8   under Sections 5, 12(a)(1) and 15 of the Securities Act of 1933, 15 U.S.C. §§ 77e, 77l(a)(1), 77o,
 9   and under Sections 10(b), 20(a), and 20A of the Securities Exchange Act of 1934, id. §§ 78j, 78t(a),
10   78t-1. This Court further has jurisdiction over the Securities Act claims pursuant to Section 22 of
11   that Act, id. § 77v, and over the Exchange Act claims pursuant to Section 27 of that Act, id. § 78aa.
12                  The Court has personal jurisdiction over Defendants as a result of their acts occurring
13   in or aimed at California in connection with the offer or sale of unregistered securities and
14   Defendants’ materially false and misleading statements and omissions regarding such securities.
15                  Venue is proper pursuant to 15 U.S.C. §§ 77v(a), 78aa(a), and 28 U.S.C. § 1391(b),
16   in that this is a district wherein one or more Defendants is found or transacts business, where the
17   offer or sale of ICP took place, and where a substantial part of the events or omissions giving rise
18   to the claims occurred. Dfinity has operations and employees in San Francisco and Palo Alto,
19   California; Williams resides in Palo Alto; Defendants sold ICP to persons in this district, made
20   materially false and misleading statements and omissions regarding securities in this district, and
21   transacted in ICO tokens in this district.
22   IV.      FACTUAL ALLEGATIONS
23            A.    Background of Crypto-Assets and ICP’s Initial Coin Offering
24                  A crypto-asset is a digital asset designed to work as a medium of exchange or a store

25   of value or both. Crypto-assets leverage a variety of cryptographic principles to secure transactions,

26   control the creation of additional units, and verify the transfer of the underlying digital assets.

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 1                 Created in 2009, Bitcoin was the world’s first decentralized crypto-asset.3 With a
 2   current market capitalization of approximately $850 billion, Bitcoin is also the largest and most
 3   popular crypto-asset. Bitcoin spawned a market of other crypto-assets that, together with Bitcoin,
 4   have a current market capitalization of $1.8 trillion.
 5                 One of the main features that Bitcoin popularized was the use of a distributed ledger
 6   to track the ownership and transfer of every bitcoin in existence. This distributed ledger is known
 7   as a blockchain. Blockchains are a the central technical commonality across most cryptocurrencies.
 8   While each blockchain may be subject to different technical rules and permissions based on the
 9   preferences of its creators, they are typically designed to achieve a form of decentralization.
10                 There are two main ways to obtain cryptocurrencies. One way is to be part of the
11   framework of incentives to validate the transactions on the blockchain, under either a “Proof of
12   Work” or “Proof of Stake” scheme. Users who expend resources to validate the blockchain get
13   rewarded with newly minted tokens. This process is colloquially referred to as “mining” for Proof
14   of Work blockchains or “validating” for Proof of Stake blockchains.
15                 A second and typically more common way to obtain cryptocurrencies is to acquire
16   them from someone else. This often involves acquiring them through online crypto-asset exchanges.
17   These exchanges are similar to traditional exchanges in that they provide a convenient marketplace
18   to match buyers and sellers of virtual currencies.
19                 Bitcoin, for a time, was the only cryptocurrency available on exchanges. As
20   cryptocurrencies grew in popularity, however, exchanges began listing other cryptocurrencies as
21   well and trading volumes expanded. In early 2013, daily Bitcoin trading volumes hovered between
22   $1 million and $25 million. By the end of 2017, daily Bitcoin trading volumes ranged between $200
23   million and $3.8 billion.
24

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26   3
      Bitcoin and other crypto-assets are also commonly referred to as “cryptocurrencies” regardless
     of whether they are commodities (as the term implies) or securities.
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 1                 Ethereum is the second-most popular crypto-asset, with a market capitalization of
 2   approximately $325 billion. Ethereum was designed to enable “smart contract” functionality. A
 3   smart contract is a program that verifies and enforces the negotiation or performance of a contract.
 4   Smart contracts can be self-executing and self-enforcing, which theoretically reduces the transaction
 5   costs associated with traditional contracting.
 6                 For example, a smart contract enables two parties to submit ether to a secure
 7   destination and automatically distribute the ether at the end of the month without any third-party
 8   action. The smart contract self-executes with instructions written in its code which get executed
 9   when the specified conditions are met. Since Ethereum first introduced the concept of smart
10   contracts, many other companies have sought to create crypto-assets that improve on and compete
11   with Ethereum in the smart contract ecosystem.
12                 Interest in crypto-assets began to accelerate towards the end of 2016, with prices
13   growing at a rate historically unprecedented for any asset class. Over the course of 2017 alone,
14   bitcoin’s price increased from approximately $1,000 to approximately $20,000. On January 1, 2017,
15   Ethereum was trading at approximately $8 per ether. Approximately one year later, it was trading
16   at over $1,400 per ether—a return of approximately 17,000 percent over that period.
17                 This enthusiasm for crypto-assets prompted many entrepreneurs to raise funds
18   through initial coin offerings, or ICOs. Often, as with ICP, these entrepreneurs would promise
19   investors that the funds raised during the ICO would go to fund a new blockchain—commonly
20   touted as revolutionary in some way—and that the tokens obtained at the ICO could be used on that
21   new blockchain. Between 2017 and 2018, ICOs raised nearly $20 billion. None of these ICOs was
22   registered with the SEC.
23                 On May 10, 2021, Dfinity “launched” the “Internet Computer” network and
24   simultaneously listed ICP tokens for sale to the public (including U.S. investors) through Coinbase,
25   a California-based crypto-asset exchange, and other exchanges. Defendants sold billions of dollars
26   in ICP tokens to retail investors since that date.
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 1             B.     Defendants Solicit ICP Tokens Sales
                      a. Early ICP Fundraising
 2
                      Williams has been touting the revolutionary functionality of the Internet Computer
 3
     and the utility of ICP for several years. The first sale occurred in February 2017, when Williams
 4
     announced that “a not-for-profit foundation in Zug called DFINITY Stiftung” would be conducting
 5
     a “crowdsale” of future ICP tokens to fund the blockchain’s development. This crowdsale was to
 6
     be followed by a “main” round soon thereafter which would mimic the ICOs launching at that time.
 7
     Williams also explained that 78% of the ICP created for the network would be earmarked for
 8
     investors in the crowdsale (or “seed round”) and main round.
 9
                      The main round never happened. Clearly recognizing that the ICP tokens are securities
10
     (indeed, the 2017 crowdsale was nominally blocked in the United States “due to regulatory
11
     uncertainties”), Dfinity eschewed using an ICO to raise funds in part because of the “regulatory
12
     hornets’ nest” that surrounded ICOs at the time.
13
                      Williams later admitted that Dfinity considered the “possibility of running an ICO,”
14
     but the “regulatory environment,” made it “impractical” because “ICO fundraising” is “generally
15
     still [a] grey legal territory.” Williams acknowledged that a “securities regulator might well argue
16
     that [ICP tokens] are in fact investment contracts that investors are buying because they expect them
17
     to have value once the network has launched.”
18
                      Williams also backtracked, around this time, on the expectation that the vast majority
19
     of ICP would be reserved for early investors, and instead explained that approximately 50% of ICP
20
     tokens would be earmarked for Defendants, including Dfinity’s team. Williams explained these ICP
21
     tokens would be given to insiders such as Dfinity employees “to help attract and motivate the
22
     world’s best talent.”
23
                      In early 2018, Dfinity raised the “relatively small” amount of $61 million from “well-
24
     respected investors Andreessen Horowitz4 and Polychain.” Dfinity dubbed this the “Strategic
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     4
         Also known as “a16z”.
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 1   Round.” After this round, Dfinity promised that ICP tokens would be available to retail investors at
 2   a sale “run by regulated traditional exchanges” after its “network goes live.”
 3
                   b. Defendants Tout the May 2021 ICP Token Launch
 4
                   In the period leading up to the May 2021 offering, Dfinity and Williams began to
 5
     describe the network in increasingly laudatory terms, which became amplified in publications such
 6
     as Forbes, Business Insider, and Bloomberg. As the New York Times would later explain, these
 7
     efforts worked and “generated a lot of buzz” ahead of Dfinity’s ICO, “the crypto equivalent to a
 8
     company going public and listing shares for investors to buy.”
 9
                   May 2019: Williams publicly states that the Dfinity network “reimagines software”
10
     and would be “incredible.”
11
                   June / July 2020: Dfinity’s Twitter account promotes that “Billions of dollars are
12
     waiting to invest in the open web.” A few days later, Dfinity published an article promoting
13
     investment in the “Internet Computer” project, noting that “Financial backers see tremendous upside
14
     in the open web’s ability to create financial opportunities for innovation that previously didn’t exist.
15
     . . . VCs are eager to deploy billions in capital to foster the decentralized web[.]”
16
                   February 2021: Dfinity “convene[s] top investors and entrepreneurs” for an event
17
     entitled “Trillion Dollar Opportunity: How a New Internet Will Completely Reimagine Your
18
     Business Model” which addresses how “businesses can seize this opportunity.”
19
                   March 2021: Dfinity promotes the “Genesis Event” when ICP tokens would become
20
     available to retail investors on various internet and social medial channels.
21
                   April 2021: Dfinity called the prospective ICP Genesis Event “the most anticipated
22
     event in blockchain.”
23
                   May 2021: To promote Dfinity and ICP, Williams participates in interviews with
24
     journalists from several different outlets, including Bloomberg and Decrypt.
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 1                 May 4, 2021: Williams states that Dfinity “represents the product of an unprecedented
 2   multi-year R&D effort, orchestrated by the DFINITY Foundation from research and development
 3   centers in Zurich, Palo Alto, San Francisco and Tokyo.”
 4                 May 7, 2021: Dfinity holds the Genesis Event, an hours-long, road-show type
 5   presentation which Williams plays a prominent role in. He explains that Dfinity’s blockchain
 6   represents “a giant leap forward” allowing the running of smart contracts at web speed, that can
 7   serve web directly to users, that can increase its capacity with demand as needed, that is efficient,
 8   that governs itself, and that can provide better usability than those systems built on traditional
 9   technology.” Williams went to so far as to say that the network using ICP will be “humanity’s
10   primary compute platform for building software” in 20 years. Dfinity employee Liz Yang (who is
11   based in the San Francisco Bay Area) instructed the public that they could “begin acquiring the ICP
12   utility token through approved channels such as exchanges very soon.” Dfinity employee Michael
13   Hunte (also based in the San Francisco Bay Area) described the launch of Dfinity network as “the
14   dawn of the new open and free internet.”
15                 c. Defendants Seek to Monetize Dfinity’s Buzz by Offering ICP Tokens on
                      Major Crypto-Asset Exchanges
16
                   On May 10, 2021, ICP was listed on multiple cryptocurrency exchanges, including
17
     Coinbase, Binance, Huobi, OKEx, Kucoin, CoinList, CoinEx, FTX, and others. ICP immediately
18
     catapulted to the upper echelon of crypto-assets, quickly peaking at a market capitalization of over
19
     $45 billion, which placed it within the top-10 crypto-assets in the world.
20
                   As one Twitter observer commented, this was uncommon in crypto-asset listings:
21
     “Major exchanges listing $ICP all at once, never happened before.” Not only would Dfinity have to
22
     take affirmative steps to list ICP with any given exchange (including by applying to be listed, paying
23
     listing fees, and paying transaction fees incurred selling ICP on those exchanges), this simultaneous
24
     listing, as Coin Telegraph reported, “reflected a carefully structured strategy by Dfinity, the Zurich-
25
     based nonprofit backing Internet Computer, that landed ICP tokens right into the conscience of
26
     everyday traders.”
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 1                 Defendants planned these listings in advance to create secondary trading markets,
 2   especially in the United States, in which to dump their ICP tokens. Indeed, Dfinity insiders
 3   ultimately deposited at least 2 million ICP tokens with Coinbase on May 10. Listing with the
 4   California-based Coinbase was a wise strategic choice because it is the largest and most well-
 5   established crypto-asset exchange in the United States with more than 50-million users.
 6                 At the same time, during this period, Dfinity promoted investment research reports
 7   from well-known sources in the crypto space. For example, on May 10, Yang tweeted: “Messari
 8   wrote an in-depth report on the Internet Computer.” As described by Coindesk, “Messari is an online
 9   database for the crypto industry that provides data insights, pricing, and research on crypto-assets
10   through an open-source library of information. It seeks to be the crypto industry’s equivalent of
11   Crunchbase and the US Security and Exchange Commission’s EDGAR database, which contains
12   company registration statements and reports among other documents, all of which are publicly
13   available.”
14                 The report that Yang referenced, which was linked in her tweet, indicated that ICP
15   tokens had a “fully diluted market cap” of $85 million. The report explained that “Dfinity is one of
16   crypto’s most well-funded and publicized projects.” The report also provided information for
17   investors regarding how tokens were to be allocated among different groups of investors and
18   outlined restrictions to be imposed on those investors’ tokens. The report included the table copied
19   below to summarize the allocation of ICP tokens:
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11                 As the table above demonstrates, the Foundation itself owns nearly 25% of ICP
12   tokens, Dfinity’s team members own 18%, and Dfinity’s advisors own 2.4%. The Internet Computer
13   Association, another nonprofit that was formed shortly before May 10, and that Williams regards
14   as an insider, owns another 4%.
15                 The Messari report also explained that “[t]here will be 469,213,710 ICP tokens at
16   genesis” and noted that (i) tokens allocated to “Strategic” investors (like Andreessen and Polychain)
17   would be subject to a three-year vesting period and (ii) tokens allocated to “Presale” investors would
18   be subject to a one-year vesting period. Those vesting periods, according to Messari, would start
19   “from mainnet launch (May 2021).” Yang has referred to Messari as her “favorite” crypto-asset
20   research firm and noted that it “has some of the finest crypto research in the space.” On the same
21   day, Dfinity (through Williams) also announced that “Seed” investors’ ICP would be subject to a
22   four-year vesting period, and that “Community Airdrop” investors’ ICP would be subject to a one-
23   year vesting period.
24                 On May 11, Dfinity tweeted: “New research profile from @BinanceResearch: The
25   #InternetComputer is a layer-1 protocol to become a blockchain network that evolves the internet.
26   As of May 10, 2021, total supply of ICP is 469,213,710 and current circulating supply is
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 1   125,067,597 (~26.65%).” Dfinity’s tweet linked to the report from Binance, one of the world’s
 2   largest crypto-asset exchanges. That report included, on a panel on the left-hand side, an icon
 3   indicating the current price of ICP with a button stating: “Trade now.”
 4                 In further promoting ICP, Dfinity has built and touted its relationships with crypto
 5   investing companies. In a Medium post from June 2021, Williams noted that there was a “boost of
 6   institutional demand” for ICP and linked to a press release from Crypto Finance. That press release
 7   explains that the “Crypto Finance Group provides institutional and professional investors a full suite
 8   of crypto asset products and services.” The press release announced that Crypto Finance “now
 9   enables trading and secure storage for the Internet Computer Protocol (ICP).”
10
            C.     May 10, 2021 – Defendants Dump ICP Tokens
11                 Defendants’ solicitation and promotion worked: ICP opened up as one of the mostly
12   highly anticipated ICOs of all time, and the price of ICP quickly rose to $731 per token, repeatedly
13   reaching over $600 per token. Within hours, however, the price had begun to fall.
14                 ICP’s volatile first day of trading attracted significant media attention. Coin Telegraph
15   marveled that “dollar bids for the token surged to as high as $3,093” on Binance, a major crypto-
16   asset exchange, and observed that “a berserk trading sentiment” landed “ICP on the list of the top
17   10 cryptocurrencies by market capitalization, surpassing even veterans such as XRP, Dogecoin
18   (DOGE), and Cardano (ADA), and reaching as high as the fourth spot.” Decrypt observed that ICP
19   “immediately leaped into the top 10 cryptocurrencies on CoinMarket Cap.”
20                 Within the next few weeks, the price continued to drop. By the end of May, ICP was
21   trading at $110 per token, and by late June ICP hit the $45 mark that it hovers around today.
22                 Public reporting and other available data explain the reason for this volatility:
23   dumping of ICP tokens by Defendants and their affiliates and/or insiders. Arkham Intelligence
24   published a report on June 28, 2021, concluding that Dfinity and its insiders deposited at least 18.9
25   million ICP, worth approximately $3.6 billion at the time of deposits, to four exchanges, with
26   Coinbase receiving at least 2 million ICP on May 10 from Dfinity, and another 4.7 million ICP from
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 1   Dfinity on June 15. Arkham reported that, from May 10 to June 28, Dfinity directly deposited 8.3
 2   million ICP on exchanges, Dfinity transferred 34.1 million ICP to insiders, and those insiders
 3   deposited 10.7 million of that ICP on exchanges.
 4                 Data from the website ic.rocks, which tracks ICP transactions, corroborates Arkham’s
 5   analysis. That data shows that, on May 10, approximately 4 million ICP tokens were sold on
 6   Coinbase. Nearly all of those tokens were sold by just twenty different accounts, which received
 7   their ICP directly from Dfinity around that time. A research report from Cycle Dao, published at the
 8   end of June 2021, shows that “Seed” and “Early Contributor” investors had access to only 1,660
 9   ICP on May 10. Statements from “Community Airdrop” and “Presale” investors, described below,
10   show that they did not have access to any ICP on May 10. And Messari’s report, endorsed by
11   Dfinity, in addition to confirming that “Presale” investors did not have access to their tokens as of
12   May 10, also indicates that “Strategic” investors did not have access to any tokens until May 30.
13   Dfinity and its insiders were therefore responsible for the substantial majority of sales on that date.
14                 In addition, on May 24, a single account sold 2 million ICP on Coinbase; on June 15,
15   another account sold approximately 5.2 million ICP on Coinbase; and from May 16 to July 28,
16   another account sold approximately 6.5 million ICP on Coinbase. Each of these accounts received
17   its ICP from Dfinity, and from no other source. These three sellers were responsible for selling
18   nearly 14 million ICP between May 10 and July 28 on Coinbase.
19                 Data from ic.rocks shows that “Seed” and “Early Contributor” investors currently
20   have access to only 3.25 million ICP total (and would have had access to even fewer tokens in May
21   and June, due to the vesting requirements described below). And data from Messari, in the report
22   endorsed by Dfinity, shows that “Strategic” and “Presale” investors would only have access to less
23   than 3 million ICP until June 30. Dfinity and its insiders were therefore responsible for these large
24   sales, in addition to many smaller sales that occurred over the same period. Upon information and
25   belief, the Foundation was responsible for the sale of 2 million ICP on May 24, because, as explained
26   below, Williams implicitly admitted that the Foundation sold ICP on that date and because the
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 1   Foundation was one of the few stakeholders that owned and controlled such a large amount of ICP
 2   as of that date.
 3                   This dumping was possible only because, unlike other investors, Dfinity did not
 4   impose any vesting requirements or other sales restriction on itself or its insiders. That is, even after
 5   imposing restrictions on certain pre-ICO investors (including “Seed,” “Strategic,” “Presale,” and
 6   “Community Airdrop” investors) and stating that there would be restrictions on Dfinity and its
 7   insiders, Dfinity left itself and its insiders free to dump ICP as it wished. To put it differently, Dfinity
 8   and its insiders were able to sell ICP on the open market to unsuspecting retail investors while
 9   outside investors were prohibited from selling their ICP.
10                   The purpose of the vesting restrictions that Dfinity imposed on outside investors was
11   to ensure that Dfinity and its insiders could sell their ICP at the highest price possible. As the Messari
12   report tweeted by Yang observed: “The higher the amount locked, the lower the circulating the
13   supply , the more favorable price action is.”
14                   Dfinity and its team dumped their ICP, moreover, while in possession of material
15   nonpublic information, including regarding (i) vesting restrictions imposed on the majority of ICP
16   tokens owned by Dfinity and its current and former team members and (ii) their intention to sell
17   those tokens on the open market in volumes amounting to dumping. And notwithstanding that
18   Dfinity and its team sold considerable amounts of ICP beginning on May 10, they did not disclose
19   these facts to the retail investors like Plaintiff who purchased that ICP.
20          D.       Defendants’ Cover-Up of Their ICP Token Dumping
21                   This sequence of events came as a complete surprise to the market in general and to

22   ICP’s retail investors in particular. Indeed, Williams had repeatedly stated that insiders would not

23   and could not dump tokens after the launch of Dfinity’s blockchain, as summarized here:

24               •   “Anyone imagining that Polychain and a16z are whales looking to flip their positions

25                   for a quick profit should consider this: tokens granted in exchange for ‘strategic’ round

26                   contributions came with a 3 year vesting schedule. Just like team members whose

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 1                 incentive tokens are bound by even longer vesting schedules, they too are laser
 2                 focused on building the future.” (February 7, 2018 on Reddit).
 3             •   “To be clear, we remain totally committed to enabling as wide as participation as
 4                 possible. We believe in a holistic approach that engages participation both from the
 5                 wider community and specialists who add value through their special resources and
 6                 skills, while also ensuring all participants are treated fairly (the idea of doing
 7                 whale/insider sweetheart deals simply to benefit friends and associates is an anathema
 8                 to us).” (February 7, 2018 on Reddit).
 9             •   “Hey just to be clear, the team does not own the endowment. We have salaries, offices,
10                 lawyers, acquisitions etc to pay down for years. We have employee incentive plans
11                 but currently minority. Decisions are made with respect to helping the foundation
12                 achieve its goals rather than personal desires for more tokens i.e. it’s not like a startup
13                 where founders often own outsized chunks. We are a long term operation, which is
14                 why we did not dump all our tokens.” (April 6, 2018 on Reddit).
15
                   On the morning of May 10, 2021, moreover, the date of the ICO, Williams
16
     emphasized how important vesting schedules were to Dfinity’s network. Indeed, in explaining why
17
     both “Seed” investors’ and “Community Airdrop” investors’ tokens would be subject to vesting
18
     requirements, he stated: “It is very important that the flow of liquid ICP tokens around the network
19
     is released on a schedule for the safety and security of ICP holders, the network, and its users while
20
     the underlying technology is being fettled and its ecosystem is being established.”
21
                   Based on the forgoing representations, and the material omissions associated with
22
     them, as discussed further below, investors reasonably believed on May 10 that (i) Dfinity’s team
23
     members’ tokens were subject to vesting periods that exceeded three years from May 10 and thus
24
     would not be able “to flip their positions for a quick profit”; (ii) Dfinity and its team were opposed
25
     to “insider sweetheart deals simply to benefit friends and associates”; (iii) Dfinity was a “long term
26
     operation” and it and its team therefore would not “dump” their tokens; and (iv) Dfinity and its team
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 1   regarded vesting schedules as “very important” to “the safety and security of ICP holders, the
 2   network, and its users” and thus would presumably subject themselves, like outside investors, to
 3   vesting requirements.
 4                 In the ensuing months, however, it became clear that Dfinity did not impose on itself
 5   or its team any vesting requirements that prevented them from dumping their tokens on the open
 6   market, and making billions of dollars, while the price of ICP collapsed and retail investors were
 7   left with substantial losses.
 8                 After May 10, as the price of ICP dropped, investors began asking questions. On May
 9   18, 2021, a twitter user, after observing that Dfinity had “built a community of bagholders,” asked
10   Williams: “who supplied liquidity at launch?” Williams responded that day: “For regulatory
11   reasons, the foundation and key early team members were locked up at launch for a week (it’s the
12   reverse of what people think).” Williams’s statement was misleading or false because it suggested
13   that neither Dfinity nor team members sold ICP at launch, when, in reality, they did. His statement
14   also served as partial disclosure because it suggested that Dfinity and team members’ tokens were
15   not subject to any vesting requirements (but were instead only restricted for “regulatory reasons”
16   for a one-week period). The price of ICP fell by nearly 16% that day.
17                 On May 26, 2021, a twitter user asked Williams: “What’s a source/summary for token
18   allocation, lock-in periods, & other guidelines, including for the foundation’s tokens?” Williams
19   responded that night via twitter: “Foundation didn’t vest itself but plans on putting most of its ICP
20   into neurons. It is doing this carefully to make sure foundation+team members don’t control the
21   network.” In response to Williams’s tweet, another user asked: “so you vested all of your investors,
22   and even delayed the private round an extra month, while not vesting yourself at all… do you think
23   that is fair? What about the vesting of the early contributors, the team, and Internet Computer
24   Association?” Williams did not respond. In response to Williams’s disclosure that the Foundation
25   did not subject itself to any vesting requirements, the price of ICP fell by 9% the following day.
26

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 1                On June 11, 2021, in response to a now-deleted Reddit post accusing Dfinity and its
 2   team of engaging in improper conduct, Williams stated:
 3
                  This is me, Dominic Williams. Whoever wrote this is just some slimy
 4                moron looking to exploit people’s angst about the current market
                  situation. Obviously, not one single team profile is fake. People also
 5                work full time, rather than being associates or advisers, as is so often
                  the case in blockchain. The technical achievements of the project are
 6                manifest and towering, and would not have been possible without the
 7                organisation [sic] that exists. Meanwhile, the foundation, founders and
                  directors weren’t even able to sell initially because of regulatory
 8                lockups. The price drop was largely (it seems) due to people who have
                  very low basis selling to lock in huge gains. But regardless about the
 9                reasons for what happened in this market, whoever wrote this piece is
                  deliberately lying in order to exploit people’s pain and it’s disgusting.
10                Moreover, it’s slanderous and the false claims are prosecutable by law.
11                I personally offer a reward of 100 ICP for whoever provides the identity
                  of this individual so that we can consider prosecuting them for slander.
12                You know where to find me.

13                The same day, in a Medium post, Williams reiterated: “[T]he Foundation did NOT
14   sell ICP tokens from its endowment at or soon after Genesis launch.”
15                In that post, Williams casted blame on two groups for collapsing the price of ICP.
16   First, Williams blamed “Seed” investors:
17
                  Despite Seed Donors divesting their ICP tokens, it’s important to note
18                this community of early supporters helped bootstrap the Internet
                  Computer project. Moreover, many Seed Donors were also early
19                supporters of Ethereum, and contributed to the Internet Computer
                  project in February 2017 using ETH, which at the time was between $6-
20                10. After patiently waiting nearly five years, we are now seeing token
21                diversification from Seed Donors, who had a very low basis, to the
                  broader community. DFINITY is grateful to our Seed Donors for their
22                initial faith in Dominic Williams and early team members, and look
                  forward to seeing them contribute to early Internet Computer ecosystem
23                projects.
24
                  Williams then blamed former employees: “Unfortunately, a significant portion of the
25
     irresponsible token divesting stemmed from former employees. The silver lining is that these tokens
26
     are now spread across supporters that continue to strengthen the Internet Computer community.”
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 1                 Williams’s statement that “the foundation, founders and directors weren’t able to sell
 2   initially” was misleading or false because Dfinity and its team did in fact sell ICP on the ICO date,
 3   as well as in the days that followed. Williams’s attempt to blame “Seed” investors and former
 4   employees for ICP’s price collapse was likewise misleading, because Dfinity and its team sold ICP
 5   over the same period. Indeed, “Seed” investors were only able to access 1,660 ICP on May 10.
 6                 Williams’s statement that former employees had sold ICP was nevertheless a partial
 7   disclosure because it further suggested that Dfinity’s team members were not subject to any vesting
 8   restrictions. Indeed, in response to that disclosure, the price of ICP fell by another 12% that day.
 9                 Starting around this time, investors became increasingly skeptical of Defendants’
10   claims that Dfinity and its team members had not sold ICP and that team members’ tokens were
11   subject to vesting restrictions that precluded such sales. This is reflected in Reddit comments during
12   mid-to-late June 2021. On June 14, 2021, for example, one user asked: “Is it true that ICP creators
13   dumped on launch and made a fortune before crashing the market?” On June 22, an investor asserted
14   that “Dfinity foundation should buy back some of the icp it dumped.” The same day, another user
15   posited that “Dfinity and team sold 90 million tokens since Genesis.” In response, one user noted:
16   “I know for sure of 2 former team members who have sold at launch, they would be dumb not to,
17   those are life-changing sums.” Former Dfinity employees agreed. For example, one former
18   employee explained, “you can add me to the list, so you know of 3. I left Dfinity in Jan of last year
19   and sold a fair chunk of what I’d been holding.” Another former employee similarly stated: “You
20   can make that tally 5 if you are keeping track.”
21                 By June 22, the price of ICP had dropped 40% from where it ended on June 11, the
22   day where Williams claimed that Dfinity and its team were not selling ICP. This decrease reflected
23   the market’s realization that Dfinity and its team, who held approximately 50% of ICP tokens as of
24   May 10, were not subject to any vesting requirements that prevented them from dumping their ICP
25   on the market and were in fact dumping their ICP on the market.
26

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 1                 Defendants nonetheless continued to misrepresent critical facts to investors. On June
 2   26, 2021, Yang doubled down on Dfinity’s claims that team members were not responsible for
 3   selling ICP. That day, a twitter user asked: “the team of 200 got 84 million at Genesis, if that’s not
 4   true can anyone verify maybe?” In response, Yang stated: “This narrative is absolutely untrue. The
 5   team, including myself, is on a vesting schedule. I know it’s much more interesting and scandalous
 6   to believe otherwise. As the saying goes, why let the truth get in the way of a good story? However,
 7   the facts speak for themselves.”
 8                 Yang’s statement that team members were “on a vesting schedule” was misleading or
 9   false because it suggested that team members were unable to sell their ICP tokens when, in reality,
10   they were able to sell their tokens and did in fact sell their tokens.
11                 That fact was further demonstrated on June 28, 2021, when Arkham Intelligence
12   released its “Report on the Internet Computer Token.” The report summarized:
13
                   As of this writing, the Internet Computer token (ICP) has lost 95% of
14                 its value from its launch event in May, dropping from $730 to $30, and
                   wiping out over $300 billion dollars of value based on ICP’s total
15                 supply. These are astounding numbers in the crypto and financial world
                   overall, even with the current market’s volatile prices and soaring
16                 valuations. At its peak, ICP was the third most valuable crypto-asset,
17                 behind Bitcoin and Ethereum, and was worth as much by market cap as
                   Mastercard, Bank of America, and PayPal. In its first month, ICP’s price
18                 decreased more than any other top 100 token by a good margin.
                   Altogether retail investors who bought ICP on Coinbase or other major
19                 crypto exchanges have lost millions if not billions of dollars.
20
                   The Arkham report then summarized its findings:
21
                   •   Addresses we suspect belong to the Dfinity treasury and project
22                     insiders have deposited 18.9 million ICP, worth ~$3.6 billion at the
                       time of deposit, to exchanges.
23

24                         o The Treasury has directly deposited 8.3 million ICP, worth
                             ~$2 billion at time of deposit, 94% of which was on two
25                           days: listing day of May 10th (3.1mm) and June 15 (4.7mm).

26                         o The Treasury sent 34.1 million ICP to 34 suspected insider
                             addresses. These addresses have deposited 10.7 million ICP,
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                                                   19
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 1                          also worth ~$1.6 billion at time of deposit, intermittently
                            over the weeks since listing.
 2
                        o Deposits from the Treasury plus suspected insiders account
 3                        for approximately 75% of total ICP deposits to exchanges.
 4
                 •   Based on a review of their public materials, Dfinity has not followed
 5                   industry practices meant to demonstrate good faith and assure
                     investors that project insiders won’t trigger a price collapse through
 6                   massive selling.

 7                      o Dfinity has not been transparent about token allocation and
                          unlocking, unlike other major projects.
 8

 9                      o It has nonetheless come out that Dfinity imposed 4-year
                          vesting on small seed supporters, who collectively own
10                        about 25% of the ICP supply, while having no vesting for
                          the Dfinity foundation, which also reportedly owns about
11                        25% of the ICP supply.
12
                        o Many of these small seed supporters say they have found it
13                        extremely difficult, if not effectively impossible, to access
                          their tokens.
14
                 The following day, the New York Times picked up on the story, in an article written
15
     by Ephrat Livni and Andrew Ross Sorkin:
16
                 Miguel Morel, the founder of Arkham Intelligence, a crypto analysis
17               firm that followed the movements of ICP tokens on the blockchain, said
18               that the price action and flaws in the coin offering process suggested
                 “something went wrong.” In an analysis that Arkham first shared with
19               the DealBook newsletter, the firm noted that “a token dropping over 90
                 percent in the first month after launch is highly unusual for a project of
20               this scale.”
21               The process for claiming ICP tokens stands out, because “Dfinity did
22               not follow the playbook of other successful projects,” Arkham said.
                 “Instead, it appears they quietly allowed the treasury and insiders to
23               send billions of dollars of ICP to exchanges, while making it extremely
                 difficult for their longtime supporters to access the tokens they were
24               promised.”
25

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 1                 On that day, June 29, 2021, a Reddit user, in a detailed post, claimed that Dfinity “lied
 2   to investors, intentionally withheld important information, and may have committed fraud.” On July
 3   2, 2021, Williams responded:
 4
                   This post is a classic example of FUD and misinformation so I will
 5                 respond for instructive purposes. The author sounds genuine, so they
                   may just have lost themselves in conspiracy theories, but most authors
 6                 of material like this turn out to be shills or sponsored by projects (or
                   their investors) who are scared of the Internet Computer.
 7

 8                 Before illustrating the problem with the above post, I will repeat the
                   following: Yes, the DFINITY Foundation and its founders and directors
 9                 were locked up for the first week for regulatory and legal reasons. Yes,
                   the DFINITY Foundation did not sell for the first couple of weeks (i.e.
10                 didn’t sell even when it could and perhaps should have).
11                 Where did the mysterious supply come from? This is not difficult. There
12                 are probably 250 former and current team members that had
                   accumulated vested tokens, there are investors from the Strategic and
13                 Presale rounds, there are ECT/Seed contributors, Airdrop participants
                   etc etc so of course ICP were available . . . .
14
                   Investors—at this point aware that Dfinity and its team were not subject to vesting
15
     requirements that precluded them from dumping their ICP on the market, and that Dfinity and its
16
     team had in fact dumped their ICP on the market—were unpersuaded. One “Presale” investor
17
     explained: “Pre-sale didn’t get our tokens until after a month, so don’t fucking blame us. Most seed-
18
     investors are still trying to figure out how your CLI works. Pre-sale got doubly fucked over, paying
19
     70x more than seed because everything was ‘so close to launch.’ Also, in what universe does the
20
     team vest before investors?” A “Community Airdrop” investor expressed a similar view: “Airdrop
21
     participants didn’t get their tokens at launch either. They had to wait until the price was around 100$
22
     if I’m not mistaken. I remember it was two or three days after the Coinbase / Binance launch.”
23
                   By this point, the price of ICP had fallen by over 94% from its May 10 high.
24
     Defendants still have not revealed additional material information, including the vesting restrictions
25

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 1   imposed on their and their team’s tokens or fully disclosed the amount of tokens that they and their
 2   team have sold and intend to sell. They have, however, continued to sell ICP.
 3          E.     The ICP Tokens Are Securities
 4                 On April 3, 2019, the SEC published a “Framework for ‘Investment Contract’

 5   Analysis of Digital Assets,” in which it “provided a framework for analyzing whether a digital asset

 6   is an investment contract and whether offers and sales of a digital asset are securities transactions.”

 7   Among the most significant statements therein is the SEC’s description of how to analyze the

 8   various facts surrounding ICOs in determining whether a given digital asset, like ICP, is a security.

 9   Under application of the Framework, ICP tokens are securities.

10                 In the Framework, the SEC cautioned potential issuers: “If you are considering an

11   Initial Coin Offering, sometimes referred to as an ‘ICO,’ or otherwise engaging in the offer, sale, or

12   distribution of a digital asset, you need to consider whether the U.S. federal securities laws apply.”

13   The SEC explained the basics of the Howey test:

14                 The U.S. Supreme Court’s Howey case and subsequent case law have
                   found that an “investment contract” exists when there is the investment
15
                   of money in a common enterprise with a reasonable expectation of
16                 profits to be derived from the efforts of others. The so-called
                   “Howey test” applies to any contract, scheme, or transaction, regardless
17                 of whether it has any of the characteristics of typical securities. The
                   focus of the Howey analysis is not only on the form and terms of the
18                 instrument itself (in this case, the digital asset) but also on the
19                 circumstances surrounding the digital asset and the manner in which it
                   is offered, sold, or resold (which includes secondary market sales).
20                 Therefore, issuers and other persons and entities engaged in the
                   marketing, offer, sale, resale, or distribution of any digital asset will
21                 need to analyze the relevant transactions to determine if the federal
                   securities laws apply.
22

23   Investors who bought ICP tokens invested money or other valuable consideration, such as bitcoin

24   and ether, in a common enterprise—Dfinity. Investors had a reasonable expectation of profit based

25   upon the efforts of Dfinity, including, among other things, Dfinity building a successful network

26   that achieved widespread use.

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 1                 a. ICP Investors Invested Money
 2                 Investors in Dfinity made an investment of money or other valuable consideration for
 3   purposes of Howey. The Framework states: “The first prong of the Howey test is typically satisfied
 4   in an offer and sale of a digital asset because the digital asset is purchased or otherwise acquired in
 5   exchange for value, whether in the form of traditional (or fiat) currency, another digital asset, or
 6   other type of consideration.”
 7                 ICP tokens have been listed on many crypto-asset exchanges, and those crypto-asset
 8   exchanges permit investors to purchase ICP with bitcoin and ether and other digital assets.
 9                 b. ICP Investors Participated in a Common Enterprise
10                 The SEC Framework states: “In evaluating digital assets, we have found that a
11   ‘common enterprise’ typically exists.” This is “because the fortunes of digital asset purchasers have
12   been linked to each other or to the success of the promoter’s efforts.”
13                 The ICP tokens are no different. Investors are passive participants, and the profits of
14   each investor are intertwined with those of both Defendants and of other investors. Defendants are
15   responsible for supporting and building ICP, pooled investors’ assets, and effectively controlled
16   those assets. Defendants also retained a significant stake in ICP, approximately 50%, thus sharing
17   in the profits and risk of the venture.
18                 c. Investors Purchased the ICP Tokens with a Reasonable Expectation of
                      Profit from Owning Them
19
                   As to “reasonable expectation of profits,” the SEC Framework states: “A purchaser
20
     may expect to realize a return through participating in distributions or through other methods of
21
     realizing appreciation on the asset, such as selling at a gain in a secondary market.”
22
                   Investors in the ICP tokens, including Plaintiff and the other Class members, made
23
     their investment with a reasonable expectation of profits.
24
                   Alluding to the “AP” (the “Active Participant”), which is the promoter, sponsor, or
25
     other third party that “provides essential managerial efforts that affect the success of the enterprise,”
26
     the Framework identifies a series of factually intense questions underscoring both the time the SEC
27
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 1   had spent considering these issues and the challenges a layperson would face in analyzing whether
 2   a digital asset constitutes a security.
 3                  The Framework lays out a number of characteristics to assess whether the “reasonable
 4   expectation of profits” element is met with respect to whether digital assets (such as ICP) thereby
 5   satisfy the Howey test. These include factors such as whether the asset is tradable on an exchange,
 6   whether investors can buy more assets than they would individually need to use the technology, if
 7   it is marketed as an investment, and the lack of an existing product with which to use the assets.
 8                  The SEC Framework clarifies that investors purchased the ICP tokens with a
 9   reasonable expectation of profits. Indeed, Defendants touted the potential for ICP tokens to increase
10   in value, with Williams stating on February 1, 2017, that the tokens may “gain value” and that it
11   will be “useful for the network” if they do. Defendants ensured that ICP tokens were listed on every
12   major crypto-asset exchange and engaged in a months’-long campaign to generate interest in those
13   tokens.
14                  d. ICP Investors Expected Profits from ICP to Be Derived from Defendants’
                       Managerial Efforts
15
                    The SEC Framework provides that the “inquiry into whether a purchaser is relying on
16
     the efforts of others focuses on two key issues: Does the purchaser reasonably expect to rely on the
17
     efforts of an [Active Participant]? Are those efforts ‘the undeniably significant ones, those essential
18
     managerial efforts which affect the failure or success of the enterprise,’ as opposed to efforts that
19
     are more ministerial in nature?” The more of the following characteristics (among others) that are
20
     present, “the more likely it is that a purchaser of a digital asset is relying on the ‘efforts of others’”:
21
                    •   An [“Active Participant” or “AP”] is responsible for the development,
22                      improvement (or enhancement), operation, or promotion of the network.
23                  •   The AP is expected to perform essentials tasks.
24                  •   The AP controls the market for the digital asset, such as by limiting supply.
                    •   The AP has a lead role in the development of the network or role of the
25
                        digital asset.
26                  •   The AP decides who receives digital assets and under what conditions.
27
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                   •   The AP distributes the digital asset to internal team members as
 1
                       compensation.
 2
                   Shifting its focus to the numerous facts bearing on the nature of the digital asset at
 3
     issue, the SEC explained still further that the greater the presence of the following factors (among
 4
     others), the less likely the Howey test is met:
 5
                   •   The distributed ledger network and digital asset are fully developed and
 6                     operational.

 7                 •   Holders of the digital asset are immediately able to use it for its intended
                       functionality on the network, particularly where there are built-in incentives
 8                     to encourage such use.
 9
                   •   The digital assets’ creation and structure is designed and implemented to
10                     meet the needs of its users, rather than to feed speculation as to its value or
                       development of its network. For example, the digital asset can only be used
11                     on the network and generally can be held or transferred only in amounts that
                       correspond to a purchaser’s expected use.
12
                   •   Prospects for appreciation in the value of the digital asset are limited.
13
                   •   With respect to a digital asset referred to as a virtual currency, it can
14
                       immediately be used to make payments in a wide variety of contexts, or acts
15                     as a substitute for real (or fiat) currency.

16                 •   With respect to a digital asset that represents rights to a good or service, it
                       currently can be redeemed within a developed network or platform to
17                     acquire or otherwise use those goods or services.
18                 •   If the AP facilitates the creation of a secondary market, transfers of the
19                     digital asset may only be made by and among users of the platform.

20                 Investors’ profits in ICP tokens were to be derived from the managerial efforts of
21   others—specifically, Dfinity and its founders, including Williams, and development teams. ICP
22   token investors rely on the managerial and entrepreneurial efforts of Dfinity and their executive and
23   development teams to manage and develop Dfinity’s network, as well as projects funded by
24   Defendants’ sales of ICP to the public.
25                 Under the SEC’s Framework, ICP tokens satisfy most if not all of the relevant SEC
26   factors as to whether a digital asset is a security. Dfinity created ICP tokens from thin air. Dfinity
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 1   represented that it would develop an ecosystem (i.e., the overall network of individuals using ICP
 2   or participating in the development of its network) that would increase the value of ICP tokens.
 3   Plaintiff and the other Class members reasonably expected Dfinity to provide significant managerial
 4   efforts, to develop and improve the ICP ecosystem, to develop and sustain a supportive network,
 5   and to secure listings at exchanges through which ICP tokens could be traded or liquidated. And
 6   Dfinity represented that it would provide significant managerial efforts to achieve these objectives.
 7                  Indeed, Dfinity has acknowledged that their “mission is to build, promote, and
 8   maintain [Dfinity’s network].” Williams’s statements, as well as those made by Dfinity,
 9   demonstrate that the price of ICP tokens is dependent on whether Dfinity’s network succeeds. In a
10   February 2017 Medium post, for example, Williams explained how ICP tokens would become
11   “valueless” if Dfinity’s mission failed and how “markets will react very swiftly to punish” the price
12   of ICP if its stakeholders made poor decisions with respect to the development of the network.
13   Dfinity’s website similarly states that ICP “[t]okens reflect the value of the [network] and can
14   fluctuate.” The price of ICP tokens thus depends on whether Defendants succeed in their “mission”
15   to make their product a success.
16                  In a further demonstration that investors’ profits were dependent on Defendants’
17   efforts, Defendants represented that Dfinity would use the proceeds of ICP token sales to help
18   develop Dfinity’s network. In Medium posts, for example, Williams stated that such tokens could
19   be “sold to raise funds for salaries and offices, granted to team members to help attract and motivate
20   the world’s best talent, for acquisitions of technology and teams, and many other potential
21   purposes.” He further stated that such tokens could be used “to fund aggressive operations for years
22   in the mode of an agile Silicon Valley startup (which is the best way to make the Internet Computer
23   a mass market phenomenon).”
24          F.      The SEC Has Concluded That Tokens Such As ICP Are Securities
25                  The SEC has found that several tokens very similar to ICP, issued between 2017 and

26   the present, are securities.

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 1                 On September 30, 2019, for example, the SEC found that Block.one had violated the
 2   Securities Act through its unregistered sale to U.S. investors of its EOS token.
 3                 In arriving at its determination that the EOS token is a security, the SEC reached the
 4   following conclusions:
 5
               •   “A number of US investors participated in Block.one’s ICO.”
 6
               •   “Companies that offer or sell securities to US investors must comply with the
 7                 securities laws, irrespective of the industry they operate in or the labels they
                   place on the investment products they offer.”
 8

 9             •   “Block.one did not provide ICO investors the information they were entitled to
                   as participants in a securities offering.”
10
               •   “[EOS] Tokens were securities under the federal securities laws”
11

12             •   “A purchaser in the offering of [EOS] Tokens would have had a reasonable
                   expectation of obtaining a future profit based upon Block.one’s efforts,
13                 including its development of the EOSIO software and its promotion of the
                   adoption and success of EOSIO and the launch of the anticipated EOSIO
14                 blockchains.”
15
               •   “Block.one violated Sections 5(a) and 5(c) of the Securities Act by offering and
16                 selling these securities without having a registration statement filed or in effect
                   with the Commission or qualifying for an exemption from registration.”
17
     As a result of the SEC’s enforcement action, Block.one consented to a settlement whereby it would
18

19   pay $24 million to the SEC.
                   In December 2020, the SEC sued Ripple Labs Inc. and its executives for conducting
20
     a $1.3 billion unregistered, ongoing digital asset securities offering of its token, “XRP,” several
21
     years after its offering and after millions of users used it. The SEC alleged that because Ripple held
22
     so much XRP itself, XRP holders necessarily depended on the efforts of Ripple to maintain the
23
     value of XRP. Ripple itself promoted XRP and touted its ability to create demand for XRP.
24

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 1           G.     Plaintiff and the Other Class Members Have Suffered Significant Damages from
                    Defendants’ Actions
 2
                    As a direct result of Defendants’ misconduct, Plaintiff and the other Class members—
 3
     many of whom are retail investors who lack the technical and financial sophistication necessary to
 4
     have evaluated the risks associated with their investments in the ICP token—have suffered
 5
     significant damages in an amount to be proven at trial. The ICP tokens today are worth far less than
 6
     the price the Class members paid for them. Inasmuch as Plaintiff and the other Class members still
 7
     hold ICP tokens, they demand rescission and make any necessary tender of the ICP tokens.
 8
     V.     CLASS ALLEGATIONS
 9
                    Plaintiff brings this action as a class action pursuant to Fed. R. Civ. P. 23 and seeks
10
     certification of the following Class: All persons who purchased ICP tokens from May 10, 2021, to
11
     the present.
12
                    The Class includes individuals who purchased ICP tokens in the ICO and individuals
13
     who purchased ICP tokens in sales made through online cryptocurrency exchanges.
14
                    The Class excludes Defendants, their officers and directors, and members of their
15
     immediate families or their legal representatives, heirs, successors or assigns and any entity in which
16
     Defendants have or had a controlling interest. The Class also excludes individuals subject to any
17
     enforceable arbitration clause contained in any of the purchase agreements executed in connection
18
     with the ICP ICO. The Class also excludes individuals who, during the Class Period, sold all of their
19
     ICP tokens at a price higher than the price at which they purchased them.
20
                    Plaintiff reserves the right to amend the Class definition if investigation or discovery
21
     indicate that the definition should be narrowed, expanded, or otherwise modified.
22
                    The Class members are so numerous that joinder of all members is impracticable. The
23
     precise number of Class members is unknown to Plaintiff at this time, but it is believed to be in the
24
     tens of thousands.
25
                    The Class members are readily ascertainable and identifiable. Class members may be
26
     identified by publicly accessible blockchain ledger information and records maintained by
27
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 1   Defendants, cryptocurrency exchanges, or its agents. They may be notified of the pendency of this
 2   action by electronic mail using a form of notice customarily used in securities class actions.
 3                 Plaintiff’s claims are typical of the claims of the Class members as all Class members
 4   are similarly affected by Defendants’ respective wrongful conduct in violation of the laws
 5   complained of herein. Plaintiff does not have any interest that is in conflict with the interests of the
 6   Class members.
 7                 Plaintiff and the other Class members sustained damages from Defendants’ common
 8   course of unlawful conduct based upon the loss in market value of the ICP token.
 9                 Plaintiff has fairly and adequately protected, and will continue to fairly and adequately
10   protect, the interests of the other Class members and have retained counsel competent and
11   experienced in class actions and securities litigation. Plaintiff has no interests antagonistic to those
12   of the Class members.
13                 Common questions and answers of law and fact exist as to all Class members and
14   predominate over any questions solely affecting individual Class members, including but not limited
15   to the following:
16                 •       Whether an ICP token is a security under federal law;
17                 •       Whether Defendants unlawfully failed to register ICP tokens as a security
18                         under federal law;

19                 •       Whether Defendants offered or sold ICP tokens to Class members;
20                 •       Whether Defendants promoted or solicited the sale of ICP tokens to Class
21                         members;

22                 •       Whether Defendants engaged in insider trading of ICP tokens, and whether
                           they did so contemporaneously with Plaintiff’s and the other Class members’
23                         transactions in ICP tokens;
24
                   •       Whether the Class members suffered damages as a result of Defendants’
25                         conduct in violation of federal law;

26                 •       Whether the Class members are entitled to recover the monies they paid for
                           their purchases of ICP; and
27
                                                      29
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 1
                   •       Whether the Class members are entitled to recover from Defendants some or
 2                         all of their ill-gotten gain as a result of their violation of federal law.

 3                 A class action is superior to all other available methods for the fair and efficient

 4   adjudication of this controversy since joinder of all members is impracticable. In addition, as the

 5   damages suffered by some of the individual Class members may be relatively small, the expense

 6   and burden of individual litigation makes it impossible for Class members to individually redress

 7   the wrongs done to them.

 8                 There will be no difficulty in the management of this action as a class action.

 9                                      FIRST CAUSE OF ACTION
                                 Sections 5 and 12(a)(1) of the Securities Act
10
                                             (Against Defendants)
11                 Plaintiff incorporates the allegations above.
12                 Plaintiff brings this claim for violations of Sections 5 and 12(a)(1) of the Securities
13   Act, 15 U.S.C. §§ 77e, 77l(a)(1).
14                 Plaintiff brings this claim on behalf of all Class members who purchased ICP tokens
15   from May 10, 2021, to the present.
16                 Section 5(a) states: “Unless a registration statement is in effect as to a security, it shall
17   be unlawful for any person, directly or indirectly (1) to make use of any means or instruments of
18   transportation or communication in interstate commerce or of the mails to sell such security through
19   the use or medium of any prospectus or otherwise; or (2) to carry or cause to be carried through the
20   mails or in interstate commerce, by any means or instruments of transportation, any such security
21   for the purpose of sale or for delivery after sale.” Id. § 77e(a).
22                 Section 5(c) makes in unlawful “for any person, directly or indirectly, to make use of
23   any means or instruments of transportation or communication in interstate commerce or of the mails
24   to offer to sell or offer to buy through the use or medium of any prospectus or otherwise any security,
25   unless a registration statement has been filed as to such security, or while the registration statement
26

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 1   is the subject of a refusal order or stop order or (prior to the effective date of the registration
 2   statement) any public proceeding or examination under section 77h of this title.” Id. § 77e(c).
 3                 When sold and issued, in May 2021, the ICP tokens were securities within the
 4   meaning of Section 2(a)(1) of the Securities Act, id. § 77b(a)(1), and Dfinity is an issuer of the ICP
 5   that Plaintiff and the other Class members have purchased, id. § 77b(a)(4).
 6                 Defendants promoted, solicited, or sold purchases of ICP tokens from Plaintiff and
 7   other Class members with the motivation to serve their own financial interest.
 8                 Defendants directly or indirectly made use of means or instruments of transportation
 9   or communication in interstate commerce or of the mails, to offer to sell or to sell securities, or to
10   carry or cause such securities to be carried through the mails or in interstate commerce for the
11   purpose of sale or for delivery after sale. No registration statements have been filed with the SEC
12   or have been in effect with respect to any of the offerings alleged herein.
13                 Section 12(a)(1) provides in relevant part: “Any person who offers or sells a security
14   in violation of section 77e of this title . . . shall be liable, subject to subsection (b), to the person
15   purchasing such security from him, who may sue either at law or in equity in any court of competent
16   jurisdiction, to recover the consideration paid for such security with interest thereon, less the amount
17   of any income received thereon, upon the tender of such security, or for damages if he no longer
18   owns the security.” Id. § 77l(a)(1).
19                 Accordingly, Defendants have violated Sections 5(a) and 5(c) of the Securities Act,
20   id. §§ 77e(a), 77e(c), and are liable under Section 12(a)(1), id. § 77l(a)(1).
21                 Plaintiff and the other Class members seek rescissory damages with respect to their
22   purchases of ICP tokens in the May 2021 offering.
23
                                       SECOND CAUSE OF ACTION
24                                     Section 15 of the Securities Act
                                             (Against Williams)
25
                   Plaintiff incorporates the allegations above.
26
                   Plaintiff brings this claim under Section 15 of the Securities Act, 15 U.S.C. § 77o.
27
                                                  31
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 1                 Plaintiff brings this claim on behalf of all Class members who purchased ICP tokens
 2   from May 10, 2021, to the present.
 3                 Section 15(a) states: “Every person who, by or through stock ownership, agency, or
 4   otherwise, or who, pursuant to or in connection with an agreement or understanding with one or
 5   more other persons by or through stock ownership, agency, or otherwise, controls any person liable
 6   under sections 77k or 77l of this title, shall also be liable jointly and severally with and to the same
 7   extent as such controlled person to any person to whom such controlled person is liable, unless the
 8   controlling person had no knowledge of or reasonable ground to believe in the existence of the facts
 9   by reason of which the liability of the controlled person is alleged to exist.” Id. § 77o(a).
10                 Williams, by virtue of his offices, stock ownership, agency, agreements or
11   understandings, and specific acts, at the time of the wrongs alleged herein, and as set forth herein,
12   had the power and authority to direct the management and activities of Dfinity and its employees,
13   and to cause Dfinity to engage in the wrongful conduct complained of herein, in connection with
14   the May 2021 offering of ICP tokens.
15                 As the founder and Chief Scientist at the Foundation, and the CEO at Dfinity USA,
16   Williams had and exercised the power and influence to cause the unlawful solicitation of purchases
17   of ICP tokens in connection with the May 2021 offering of ICP tokens, with the power to direct or
18   cause the direction of the management and policies of Dfinity.
19                 Williams had sufficient influence to have caused Dfinity to solicit transactions of
20   securities in connection with the May 2021 offering of ICP tokens, and he himself participated in
21   the solicitation of such transactions.
22                 By virtue of the conduct alleged herein, Williams is liable for the wrongful conduct
23   complained of herein and are liable to Plaintiff and the other Class members for rescission and/or
24   damages suffered.
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 1
                                       THIRD CAUSE OF ACTION
 2                                     Section 10(b) and Rule 10b-5
                                           (Against Defendants)
 3
                   Plaintiff incorporates the allegations above.
 4
                   Plaintiff brings this claim for violations of Section 10(b) of the Exchange Act, 15
 5
     U.S.C. § 78j(b), and Rule 10b-5(b) promulgated thereunder, 17 C.F.R. § 240.10b-5(b).
 6
                   Plaintiff brings this claim on behalf of all Class members who purchased ICP tokens
 7
     from May 10, 2021, to June 22, 2021.
 8
                   The ICP tokens are securities within the meaning of Section 2(a)(1) of the Securities
 9
     Act, 15 U.S.C. § 77b(a)(1). Defendants sold ICP tokens to Plaintiff and the other Class members in
10
     connection with the May 2021 offering.
11
                   Section 10(b) and Rule 10b-5(b) make it illegal, in connection with the purchase or
12
     sale of any security, “for any person, directly or indirectly, by the use of any means or
13
     instrumentality of interstate commerce, or of the mails or of any facility of any national securities
14
     exchange . . . to make any untrue statement of a material fact or to omit to state a material fact
15
     necessary in order to make the statements made, in the light of the circumstances under which they
16
     were made, not misleading.”
17
                   Defendants carried out a plan, scheme, and course of conduct that Dfinity intended to
18
     and did deceive the retail investors—Plaintiff and the other Class members—who acquired ICP
19
     tokens in the May 2021 offering and thereby caused them to purchase ICP tokens at artificially
20
     inflated prices.
21
                   In connection with the May 2021 offering of ICP tokens, Defendants disseminated
22
     and approved the false statements described herein, which these Defendants knew or recklessly
23
     should have known were materially misleading in that they contained material misrepresentations
24
     and failed to disclose material facts necessary in order to make the statements made, in light of the
25
     circumstances under which they were made, not materially misleading.
26

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 1                 Defendants employed devices, schemes, and artifices to defraud; made untrue
 2   statements of material fact and omitted to state material facts necessary to make the statements made
 3   not misleading; and engaged in acts, practices, and a course of business that operated as a fraud and
 4   deceit upon the Class members that resulted in artificially high market prices for ICP tokens in
 5   connection with the May 2021 offering, in violation of Section 10(b) of the Exchange Act and Rule
 6   10b-5 promulgated thereunder.
 7                                    Misrepresentations and Omissions
 8                 Defendants’ untrue statements and omissions of material facts in connection with the

 9   May 2021 offering of ICP tokens include at least the following:

10                 (a) On February 7, 2018, speaking for and on behalf of Dfinity, Williams publicly

11                     stated on Reddit: “Anyone imagining that Polychain and a16z are whales looking

12                     to flip their positions for a quick profit should consider this: tokens granted in

13                     exchange for ‘strategic’ round contributions come with a 3 year vesting schedule.

14                     Just like team members whose incentive tokens are bound by even longer vesting

15                     schedules, they too are laser focused on building the future.” In this statement and

16                     thereafter, however, Dfinity has never disclosed the details of any such vesting

17                     schedules, which was material information. In addition, in order to make this

18                     statement not misleading, in connection with the May 2021 offering, Defendants

19                     were obligated to (but did not) disclose that (i) the Foundation was not subject to

20                     any vesting schedule, (ii) any applicable vesting periods would nevertheless allow

21                     Dfinity insiders (including Dfinity USA and Dfinity’s current and former team

22                     members) to immediately sell substantial amounts of ICP on crypto-asset

23                     exchanges like Coinbase, (iii) Dfinity and its insiders intended to deposit tens of

24                     millions of these tokens on such exchanges, and (iv) thus that Dfinity and its

25                     insiders intended to profit massively from the offering. If Williams was referring

26                     to vesting periods that began prior to May 10, 2021, his statement was further

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 1              misleading because he had previously indicated that ICP tokens would not even
 2              be allocated until the network was launched. Investors thus reasonably understood
 3              Williams to be referring to vesting periods that began on the launch date, as
 4              reflected by Messari’s report, which noted that vesting would not begin until
 5              launch and which was retweeted by Dfinity representative Liz Yang.
 6           (b) On February 7, 2018, speaking for and on behalf of Dfinity, Williams publicly
 7              stated: “We believe in a holistic approach that engaged participation from the
 8              wider community and specialists who add value through their special resources
 9              and skills, while also ensuring all participants are treated fairly (the idea of doing
10              whale/insider sweetheart deals simply to benefit friends and associates is an
11              anathema to us).” In order to make this statement not misleading, in connection
12              with the May 2021 offering, Defendants were obligated to (but did not) disclose
13              that (i) the Foundation was not subject to any vesting schedule, (ii) any applicable
14              vesting periods would nevertheless allow Dfinity insiders (including Dfinity USA
15              and Dfinity’s current and former team members) to immediately sell substantial
16              amounts of ICP on crypto-asset exchanges, (iii) the ICP tokens of outside investors
17              (including “Seed,” “Strategic,” “Presale,” and “Community Airdrop” investors)
18              were subject to vesting requirements that would prevent such investors from
19              similarly selling ICP on crypto-asset exchanges, (iv) Dfinity and its insiders
20              intended to deposit tens of millions of these tokens on such exchanges, and (v)
21              thus that Dfinity and its insiders intended to profit massively from the offering
22              while at the same time restricting the ability of outside investors to profit from that
23              same offering.
24           (c) On April 6, 2018, speaking for and on behalf of Dfinity, and addressing whether
25              the tokens allocated to Dfinity and its insiders would be locked up, Williams
26              publicly stated: “Hey just to be clear, the team does not own the endowment. We
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 1              have salaries, offices, lawyers, acquisitions etc to pay down for years. We have
 2              employee incentive plans but currently minority. Decisions are made with respect
 3              to helping the foundation achieve its goals rather than personal desires for more
 4              tokens i.e. it’s not like a startup where founders often own outsized chunks. We
 5              are a long term operation, which is why we did not dump all our tokens.” In order
 6              to make these statements not misleading, in connection with the May 2021
 7              offering, Defendants were obligated to (but did not) disclose that (i) the
 8              Foundation was not subject to any vesting schedule, (ii) any applicable vesting
 9              periods would nevertheless allow Dfinity insiders (including Dfinity USA and
10              Dfinity’s current and former team members) to immediately sell substantial
11              amounts of ICP on crypto-asset exchanges like Coinbase, (iii) Dfinity and its
12              insiders reserved the right to liquidate their tokens far more than necessary to pay
13              expenses, (iv) Dfinity and its insiders intended to deposit tens of millions of these
14              tokens on such exchanges, and (v) thus that Dfinity and its insiders intended to
15              profit massively from the offering in furtherance of their “personal desires” as
16              opposed to “helping the foundation achieve its goals.”
17           (d) On May 10, 2021, speaking for and on behalf of Dfinity, addressing the vesting
18              restrictions on “Seed” and “Airdrop” ICP tokens, which had been announced
19              without any notice prior to the offering, Williams publicly stated: “It is very
20              important that the flow of liquid ICP tokens around the network is released on a
21              schedule for the safety and security of ICP holders, the network, and its users
22              while the underlying technology is being fettled and its ecosystem is being
23              established.” This statement indicated that Dfinity viewed it as important that “the
24              flow of liquid ICP tokens around the network” be “released on a schedule,” and
25              thus implied that Dfinity and its team’s tokens were subject to vesting
26              requirements. In order to make this statement not misleading, in connection with
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 1              the May 2021 offering, Defendants were obligated to (but did not) disclose that
 2              (i) the Foundation was not subject to any vesting schedule, (ii) any applicable
 3              vesting periods would nevertheless allow Dfinity insiders (including Dfinity USA
 4              and Dfinity’s current and former team members) to immediately sell substantial
 5              amounts of ICP on crypto-asset exchanges like Coinbase, (iii) Dfinity and its
 6              insiders intended to deposit tens of millions of these tokens on such exchanges,
 7              and (iv) thus that Dfinity and its insiders intended to profit massively from the
 8              offering.
 9           (e) On May 18, 2021, speaking for and on behalf of Dfinity, Williams publicly stated:
10              “For regulatory reasons, the foundation and key early team members were locked
11              up at launch for a week.” In order to make this statement not misleading,
12              Defendants were obligated to (but did not) disclose that Dfinity USA and Dfinity
13              insiders (apart from the unidentified “key early team members”) were not locked
14              up at launch for a week and were not subject to vesting schedules that precluded
15              them dumping, as they had done, a substantial portion of their ICP tokens on the
16              market over the prior week or that precluded them from continuing to trade in the
17              tokens at such volumes going forward.
18           (f) On May 26, 2021, speaking for and on behalf of Dfinity, Williams publicly stated:
19              “Foundation didn’t vest itself but plans on putting most of its ICP into neurons. It
20              is doing this carefully to make sure foundation+team members don’t control the
21              network.” In addition to confirming that the Foundation had not been subject to
22              any vesting requirements, in order to make this statement not misleading,
23              Defendants were obligated to (but did not) disclose that Williams was referring
24              only to those ICP tokens that the Foundation had retained and that the Foundation
25              had already sold a substantial portion of its tokens into the market for substantial
26              profit.
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 1           (g) On June 11, 2021, speaking for and on behalf of Dfinity, Williams stated: “[T]he
 2              Foundation did NOT sell ICP tokens from its endowment at or soon after Genesis
 3              launch. As previously stated, DFINITY is committed to responsibly divesting its
 4              token allocation over time to reinvest back into the Internet Computer and
 5              community.” In order to make this statement not misleading, Defendants were
 6              obligated to (but did not) disclose that (i) Dfinity insiders (including Dfinity USA
 7              and current and former Dfinity team members) had sold ICP “at or soon after
 8              Genesis launch,” (ii) such sales were so large in magnitude that they contributed
 9              to the price of ICP collapsing, and (iii) the Foundation had begun selling ICP on
10              exchanges no later than May 24, 2021.
11           (h) On June 11, 2021, speaking for and on behalf of Dfinity, Williams stated:
12              “Meanwhile, the foundation, founders and directors weren’t even able to sell
13              initially because of regulatory lockups.” In order to make this statement not
14              misleading, Defendants were obligated to (but did not) disclose that Dfinity
15              insiders (including Dfinity USA and current and former Dfinity team members)
16              were not subject to such regulatory lockups and therefore were able to, and did in
17              fact, sell substantial amounts of ICP during that period.
18           (i) On June 11, 2021, speaking for and on behalf of Dfinity, in discussing who was
19              responsible for selling ICP, Williams stated: “Despite Seed Donors divesting their
20              ICP tokens, it’s important to note this community of early supporters helped
21              bootstrap the Internet Computer project,” and that: “Unfortunately, as significant
22              portion of the irresponsible token divesting stemmed from former employees.” In
23              order to make this statement not misleading, Defendants were obligated to (but
24              did not) disclose that Dfinity insiders (including Dfinity USA and current Dfinity
25              team members) had in fact sold substantial amounts of ICP over that period.
26                                         Materiality
27
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 1                 The forgoing misrepresentations and omissions were each material. These
 2   misrepresentations and omissions related to (i) the extent to which vesting restrictions precluded
 3   Dfinity and its insiders, who collectively held approximately 50% of ICP as of May 10, 2021, from
 4   selling substantial amounts of their ICP on crypto-asset exchanges in the weeks immediately
 5   following May 10, 2021, (ii) the extent to which Dfinity and its insiders intended to sell their ICP
 6   on crypto-asset exchanges over that same period, and (iii) the extent to which Dfinity and its insiders
 7   did in fact sell substantial amounts of their ICP on crypto-asset exchanges over that same period.
 8   Information regarding whether approximately 50% of tokenholders could, intended to, and did sell
 9   their ICP, as Defendants’ own public statements illustrate, are material—and they had a significant
10   impact on the market price of ICP.
11                 If a reasonable investor knew that Dfinity and its insiders collectively could and
12   intended to sell a substantial percentage of the ICP that had been issued on and immediately
13   following May 10, 2021, then that investor would reasonably expect the price of ICP to be
14   significantly lower than if Dfinity and its insiders could not or did not intend to sell their ICP on
15   and immediately following the launch date. Indeed, Defendants’ assurances made on Reddit on
16   February 7, 2018, in the face of exactly these concerns, reflect these Defendants’ own admission of
17   their materiality. Accordingly, there is a substantial likelihood that the disclosure of the omitted
18   facts would have been viewed by the reasonable investor as having significantly altered the “total
19   mix” of information made available.
20                                                  Scienter
21                 Defendants acted with scienter in engaging in the forgoing misconduct, in that they
22   either had actual knowledge of the misrepresentations and omissions of material facts set forth
23   herein, or acted with reckless disregard for the truth in that they failed to ascertain and to disclose
24   such facts, even though such facts were available to them.
25                 Defendants knew before the May 2021 offering that any applicable vesting periods
26   would not preclude Dfinity USA and Dfinity insiders from dumping massive quantities of ICP
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 1   tokens on the market and Dfinity intended to transfer tens of millions of the newly issued ICP tokens
 2   to project insiders, and that it, along with those insiders, intended to dump tens of millions of these
 3   tokens on crypto-asset exchanges, such that Dfinity and its insiders intended to profit massively
 4   from the offering, while outside investors would be precluded from doing so.
 5                 Indeed, Defendants necessarily knew what restrictions were imposed on their own
 6   tokens, as well as the tokens that they issued and allocated to current and former team members,
 7   and to outside investors. These Defendants likewise knew that they, along with current and former
 8   team members, held approximately 50% of ICP tokens (Williams wrote about the allocation in an
 9   April 4, 2018 post on Medium), and that if half of those tokens were sold, the price of ICP would
10   likely collapse. This is demonstrated by a February 23, 2021 tweet, where Williams, in discussing
11   a potential vesting restriction on “Seed” investors (who collectively held 25% of ICP): “A price
12   collapse would be bad for security.” It was thus highly unreasonable for Defendants to conceal
13   information relating to vesting restrictions imposed on their and their insiders’ tokens.
14                 Defendants’ failure to disclose such information, coupled with their imposition of
15   vesting restrictions on outside investors but not on themselves, demonstrates that these Defendants
16   intended that they and their insiders would sell substantial amounts of ICP at significant profits on
17   and during the weeks that followed May 10, 2021. These Defendants executed on that plan, too, by
18   (along with current and former team members) selling tens of millions of ICP tokens on the market
19   during that period.
20                 Defendants knew that they had sold ICP on the market on and in the weeks that
21   followed May 10, 2021. They likewise know that their current and former team members sold ICP:
22   in addition to stating that such individuals had sold ICP, these Defendants know which ICP they
23   allocated to team members and can therefore track the transaction history of that ICP on the
24   blockchain.
25                 Defendants had the motive not to disclose these facts because such disclosure would
26   have been self-defeating—it would have massively lowered the offering price of the ICP tokens and
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28                                    CLASS ACTION COMPLAINT
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 1   thus effectively precluded Dfinity and its insiders from generating the profit they subsequently
 2   made. Defendants had the opportunity thus to generate ill-gotten gains because they controlled the
 3   distribution of the ICP tokens to themselves and their insiders and the extent to which any
 4   restrictions would be placed on such tokens.
 5                 Defendants likewise had the motive not to disclose these facts after May 10, 2021,
 6   because they still hold significant amounts of ICP. If Dfinity and its insiders sold 100 million ICP,
 7   for example, they would still have over 100 million ICP remaining. These Defendants therefore had
 8   an incentive to ensure that the price of ICP remained artificially inflated.
 9                              Reliance, Economic Loss, and Loss Causation
10                 As a result of the publication and dissemination of the materially false and misleading
11   information and failure to disclose material facts, as set forth above, the price of the ICP tokens
12   upon issuance in May 2021, and for a period of time thereafter, was artificially inflated.
13                 In ignorance of the fact that the price of ICP tokens was artificially inflated, and
14   relying directly or indirectly on the false, misleading, and materially incomplete statements that
15   Defendants made and approved, or upon the integrity of the market in which the ICP tokens were
16   sold, or on the absence of material adverse information that these Defendants knew or recklessly
17   should have known of but failed to disclose in public statement, Plaintiff and the other Class
18   members acquired ICP tokens at artificially high prices and were damaged thereby.
19                 As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the
20   other Class members suffered damages in connection with the respective purchases of ICP tokens
21   and are entitled to an award compensating them for such damages.
22                 Indeed, the price of ICP dropped significantly as Defendants disclosed, and the market
23   discovered, that (i) any vesting restrictions imposed on these Defendants and their insiders did not
24   prevent them from selling substantial amounts of ICP starting on May 10, 2021, (ii) these
25   Defendants and their insiders intended to sell substantial amounts of ICP starting on the launch date,
26   and (iii) these Defendants did in fact sell substantial amounts of ICP starting on the launch date:
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 1                (a) The price of ICP dropped by 16% when Williams disclosed, on May 18, 2021,
 2                    that “for regulatory reasons, the foundation and key early team members were
 3                    locked up at launch for a week.”
 4                (b) The price of ICP dropped by an additional 9% when Williams disclosed, on May
 5                    26, 2021, that “Foundation didn’t vest itself.”
 6                (c) The price of ICP dropped by an additional 12% when Williams disclosed, on June
 7                    11, 2021, that “former employees” had been able to sell a significant amount of
 8                    ICP tokens.
 9                (d) The price of ICP dropped by an additional 40% between June 11 and June 22,
10                    2021, by which point investors had realized that Dfinity and its team had sold a
11                    significant amount of ICP on the market since May 10, 2021, as demonstrated by
12                    discussions on Reddit from June 11 to June 22.
13                As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the
14   other Class Members have suffered damages in connection with their purchase or acquisition of ICP
15   during the Class Period.
16                In addition, as a direct and proximate result of Defendants’ wrongful conduct, Dfinity
17   has generated and retained ill-gotten in connection with the May 2021 offering of ICP tokens, such
18   that Plaintiff and the other Class members are entitled to the disgorgement of Dfinity’s ill-gotten
19   gain from such misconduct.
20                                    FOURTH CAUSE OF ACTION
                                     Section 20(a) of the Exchange Act
21                              For Violation of Section 10(b) and Rule 10b-5
                                             (Against Williams)
22
                  Plaintiff incorporates the allegations above.
23
                  Plaintiff brings this claim against Defendant Williams for violations of Section 20(a)
24
     of the Exchange Act, 15 U.S.C. § 78t(a).
25
                  Plaintiff brings this claim on behalf of all Class members who purchased ICP tokens
26
     from May 10, 2021, to June 22, 2021.
27
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 1                  Section 20(a) states in relevant part: “Every person who, directly or indirectly,
 2   controls any person liable under any provision of this chapter or of any rule or regulation thereunder
 3   shall also be liable jointly and severally with and to the same extent as such controlled person to
 4   any person to whom such controlled person is liable . . . unless the controlling person acted in good
 5   faith and did not directly or indirectly induce the act or acts constituting the violation or cause of
 6   action.” Id.
 7                  Williams, by virtue of his offices, stock ownership, agency, agreements or
 8   understandings, and specific acts, at the time of the wrongs alleged herein, and as set forth herein,
 9   in connection with the May 2021 offering of ICP tokens, had the power and authority to direct the
10   management and activities of Dfinity and its employees, and to cause Dfinity to engage in the
11   wrongful conduct complained of herein.
12                  As the founder and Chief Scientist at the Foundation, and the CEO of Dfinity USA,
13   Williams had and exercised the power and influence to cause the unlawful solicitation of purchases
14   of ICP tokens in connection with the May 2021 offering of ICP tokens, with the power to direct or
15   cause the direction of the management and policies of Dfinity.
16                  Williams was provided with or had unlimited access to the information underlying his
17   and Dfinity’s public statements in connection with the May 2021 offering and had the ability to
18   prevent the issuance of those statements and to disclose the information necessary to make
19   statements not misleading under the circumstances in which they were made.
20                  Williams had sufficient influence to have caused Dfinity to solicit transactions of
21   securities in connection with the May 201 offering of ICO tokens, and himself participated in the
22   solicitation of such transactions.
23                  As a direct and proximate result of Williams’s wrongful conduct, Plaintiff and the
24   other Class members suffered damages in connection with the respective purchases of ICP tokens
25   and are entitled to an award compensating them for such damages.
26

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28                                    CLASS ACTION COMPLAINT
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 1
                                       FIFTH CAUSE OF ACTION
 2                                    Section 20A of the Exchange Act
                                            (Against Defendants)
 3
                   Plaintiff incorporates the allegations above.
 4
                   Plaintiff brings this claim under Section 20A of the Exchange Act, 15 U.S.C. § 78t-1,
 5
     against Defendants on behalf of Class members who transacted in ICP tokens contemporaneously
 6
     with Defendants’ transactions in ICP tokens.
 7
                   Plaintiff brings this claim on behalf of all Class members who purchased ICP tokens
 8
     from May 10, 2021, to the present.
 9
                   Since May 10, 2021, Defendants have been in possession of material, non-public
10
     information about Dfinity and its insiders, as set forth above with respect to these Defendants’
11
     violation of Section 10(b) and Rule 10b-5, while these Defendants have been transacting in ICP
12
     tokens. Defendants have thus engaged in insider trading through which they have received at least
13
     hundreds of millions of dollars in profits.
14
                   The material, non-public information about Dfinity and its insiders that Defendants
15
     have failed to disclose, during some or all of the time in which they have been transacting in ICP
16
     tokens since May 10, 2021, includes the details of any applicable vesting schedules for Dfinity and
17
     Dfinity insiders; that the Foundation was not subject to any vesting schedule; that any applicable
18
     vesting periods would allow Dfinity USA and Dfinity insiders (including current and former team
19
     members) to transfer tens of millions of the newly issued ICP tokens to crypto-asset exchanges; that
20
     Dfinity and its insiders intended to deposit tens of millions of these tokens on crypto-asset
21
     exchanges; that Dfinity and its insiders intended to profit massively from the offering; that Dfinity
22
     and its insiders reserved the right to liquidate their tokens far more than necessary to pay expenses;
23
     and that Dfinity and its insiders dumped massive amounts of ICP tokens on the market beginning
24
     on May 10, 2021.
25
                   Defendants had and have a duty to disclose such information because disclosure was
26
     necessary to make their previous statements not materially misleading. These Defendants further
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28                                    CLASS ACTION COMPLAINT
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 1   had a duty to disclose because, like a corporation and its officers, they owed Plaintiff and others
 2   who purchased ICP tokens a fiduciary duty. Indeed, just like a share in a corporation’s stock, ICP
 3   tokens entitled holders to vote on decisions relating to the network and fluctuate in value based on
 4   the network’s success.
 5                 Defendants’ sales of ICP tokens while in possession of such material non-public
 6   information violated the Exchange Act and the applicable rules and regulations thereunder
 7   precluding such insider trading.
 8                 Plaintiff and the other Class members, all of whom have purchased their ICP tokens
 9   since May 10, 2021, have made those purchases contemporaneously with Defendants’ transactions
10   in ICP tokens since that time, such that all of these purchases and transactions have occurred
11   contemporaneously with these Defendants’ transactions in ICP tokens during the time period in
12   which they have been in possession of material, non-public information.
13                 Defendants are required to account for all of their sales of ICP tokens and to disgorge
14   their profits and ill-gotten gains as a result of their trading of ICP tokens contemporaneously with
15   Plaintiff’s and the other Class members’ trading in those tokens.
16
                                       SIXTH CAUSE OF ACTION
17                                   Section 20(a) of the Exchange Act
                              For Violation of Section 20A of the Exchange Act
18                                           (Against Williams)
19                 Plaintiff incorporates the allegations above.

20                 Plaintiff brings this claim against Defendant Williams for violations of Section 20(a)

21   of the Exchange Act, 15 U.S.C. § 78t(a).

22                 Plaintiff brings this claim on behalf of all Class members who purchased ICP tokens

23   from May 10, 2021, to the present.

24                 Section 20(a) states in relevant part: “Every person who, directly or indirectly,

25   controls any person liable under any provision of this chapter or of any rule or regulation thereunder

26   shall also be liable jointly and severally with and to the same extent as such controlled person to

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 1   any person to whom such controlled person is liable . . . unless the controlling person acted in good
 2   faith and did not directly or indirectly induce the act or acts constituting the violation or cause of
 3   action.” Id.
 4                  Williams, by virtue of his offices, stock ownership, agency, agreements or
 5   understandings, and specific acts, at the time of the wrongs alleged herein, and as set forth herein,
 6   in connection with the May 2021 offering of ICP tokens, had the power and authority to direct the
 7   management and activities of Dfinity and its employees, and to cause Dfinity to engage in the
 8   wrongful conduct complained of herein.
 9                  As the founder and Chief Scientist at the Foundation, and the CEO of Dfinity USA,
10   Williams had and exercised the power and influence to cause the insider trading of ICP tokens after
11   the May 2021 offering of ICP tokens, with the power to direct or cause the direction of the
12   management and policies of Dfinity. In addition, Williams was indisputably aware of such trading,
13   as demonstrated by his Medium, Reddit, and Twitter posts described above.
14                  Williams had sufficient influence to have caused Dfinity to trade the ICP tokens after
15   the May 2021 offering of ICO tokens, and, on information and belief, he himself participated in
16   Dfinity’s trading.
17                  As a direct and proximate result of Williams’s wrongful conduct, Plaintiff and the
18   other Class members suffered damages in connection with their contemporaneous purchase and sale
19   of ICP tokens and are entitled to an award compensating them for such damages.
20                                          PRAYER FOR RELIEF
21         On behalf of themselves and the Class, Plaintiff requests relief as follows:
22                  (a) That the Court determines that this action may be maintained as a class action,
23                        that Plaintiff be named as Class Representative of the Class, that the undersigned
24                        by named as Lead Class Counsel of the Class, and direct that notice of this action
25                        be given to Class members;
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 1           (b) That the Court enter an order declaring that Defendants’ actions, as set forth in
 2              this Complaint, violate the federal laws set forth above;
 3           (c) That the Court award Plaintiff and the other Class members damages in an amount
 4              to be determined at trial;
 5           (d) That the Court award Plaintiff and the other Class members who traded
 6              contemporaneously with Defendants’ insider trading these Defendants’ ill-gotten
 7              gains from such trading;
 8           (e) That the Court issue appropriate equitable and any other relief against Defendants
 9              to which Plaintiff and the other Class members are entitled;
10           (f) That the Court award Plaintiff and the other Class members pre- and post-
11              judgment interest (including pursuant to applicable statutory rates of interest);
12           (g) That the Court award Plaintiff and the other Class members their reasonable
13              attorneys’ fees and costs of suit; and
14           (h) That the Court award any and all other such relief as the Court may deem just and
15              proper under the circumstances.
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 1                                            JURY TRIAL
 2         Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff respectfully demands a trial by
 3   jury for all claims.
 4
     Dated: August 9, 2021                      Respectfully Submitted,
 5
                                                ROCHE FREEDMAN LLP
 6
                                                /s/ Ivy T. Ngo
 7                                              Kyle W. Roche (pro hac vice forthcoming)
                                                Edward Normand (pro hac vice forthcoming)
 8
                                                Richard Cipolla (pro hac vice forthcoming)
 9                                              Stephen Lagos (pro hac vice forthcoming)
                                                Ivy T. Ngo (SBN 249860)
10                                              99 Park Avenue, 19th Floor
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14                                              Email: slagos@rcfllp.com
                                                Email: ingo@rcfllp.com
15

16
                                                Counsel for Plaintiff and the Class
17

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                                         CERTIFICATION OF
                                SECURITIES CLASS ACTION COMPLAINT

         1.       I, Daniel Valenti, make this declaration pursuant to §27(a)(2) of the Securities Act of
1933 (“Securities Act”) and/or §21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange Act”) as
amended by the Private Securities Litigation Reform Act of 1995.
         2.       I have reviewed the complaint filed herein (the “Complaint”), and have authorized its
filing on my behalf.
         3.       I am willing to serve as a representative party on behalf of the class of investors who
purchased or acquired ICP Tokens during the class period, including providing testimony at deposition
and trial, if necessary. I understand that the Court has the authority to select the most adequate lead
plaintiff in this action.
         4.       I did not purchase or sell these securities at the direction of our counsel or in order to
participate in any private action arising under the Securities Act of 1933 (the “Securities Act”) or the
Securities Exchange Act of 1934 (the “Exchange Act”).
         5.       During the three-year period preceding the date of this Certification, I have not sought to
serve, nor have I served, as representative parties on behalf of a class in any private action arising under
the Securities Act or the Exchange Act.
         6.       I will not accept any payment for serving as representative parties on behalf of the Class
beyond our pro rata share of any possible recovery, except for an award, as ordered by the court, for
reasonable costs and expenses (including lost wages) directly relating to our representation of the Class.
         7.       I understand that executing this Certification is not a prerequisite to participation in this
Class Action as members of the Class.
         8.       To the best of my knowledge, the attached sheet (Schedule “A”) lists all my
transactions in ICP Tokens during the Class Period, as specified in the Complaint.


         I declare under penalty of perjury that the foregoing is true and correct. Executed this 9th

         day of August 2021.

                                                                             Daniel Valenti
                                                                             _______________________
                                                                             Daniel Valenti (Aug 9, 2021 17:45 MDT)

                                                                              Daniel Valenti
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                              Schedule A
               Daniel Valenti Transactions in ICP Tokens
                        Transaction                 Price Per
        Trade Date      Type              Quantity Token
        05-10-2021      BUY                       1           370
        05-10-2021      BUY                       1           366
        05-10-2021      BUY                       3           370
        05-10-2021      BUY                       5           362
        05-10-2021      BUY                       5           361
        05-10-2021      BUY                      10           360
        05-10-2021      BUY                       2       360.906
        05-10-2021      BUY                    0.47           349
        05-10-2021      BUY                17.7804        276.864
        05-12-2021      BUY                 0.1866         299.22
        05-12-2021      BUY                 8.5499        291.381
        05-15-2021      BUY                  1.313        277.627
        05-15-2021      BUY                 2.2769        277.627
        05-15-2021      BUY                 1.7545        268.746
        05-15-2021      BUY                 1.9535        268.748
        05-15-2021      BUY                 3.8478        258.851
        05-16-2021      BUY                 2.0595        242.177
        05-16-2021      BUY                 2.0399        244.072
        05-16-2021      BUY                       4           215
        05-16-2021      BUY                 0.6367          214.7
        05-17-2021      BUY                23.4559        212.431
        05-17-2021      BUY                  1.215        192.132
        05-17-2021      BUY                 2.6048        192.156
        05-17-2021      BUY                 0.7172        192.195
        05-17-2021      BUY                 0.6479        192.195
        05-18-2021      BUY                 9.4257        199.793
        05-18-2021      SELL                2.8374        169.438
        05-18-2021      SELL                19.829        169.428
        05-18-2021      SELL                     10       169.414
        05-18-2021      SELL               16.7521        169.413
        05-18-2021      SELL                0.5815        169.404
        05-18-2021      SELL                0.0009            165
        05-18-2021      SELL               27.2271        164.875
        05-18-2021      SELL                     10       164.744
        05-18-2021      SELL                9.0874         164.74
        05-18-2021      SELL                3.0302        164.738
        05-18-2021      SELL                 0.353         164.67
        05-18-2021      SELL               12.2366        164.669
        05-19-2021      BUY                      10       164.608
                                      1
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                        Transaction                   Price Per
        Trade Date      Type              Quantity    Token
        05-19-2021      BUY                60.8197          164.608
        05-19-2021      BUY                 2.7559          164.608
        05-19-2021      BUY                 3.1723          164.608
        05-19-2021      BUY                 2.0327          164.608
        05-19-2021      SELL                0.0084          138.611
        05-19-2021      SELL               27.3319          138.525
        05-19-2021      SELL               17.3652          138.525
        05-19-2021      SELL               34.0751          138.525
        05-19-2021      BUY                 4.7427          105.568
        05-19-2021      BUY                14.2245          105.624
        05-19-2021      BUY                 28.263          105.682
        05-19-2021      SELL                2.7839          125.444
        05-19-2021      SELL               27.6867          125.387
        05-19-2021      SELL               16.7596          125.339
        05-19-2021      BUY                25.0918          126.528
        05-19-2021      BUY                34.2241          126.528
        05-19-2021      BUY                11.2908          126.539
        05-19-2021      BUY                29.7477          126.639
        05-19-2021      BUY                  0.178          126.125
        05-20-2021      SELL                0.4894           107.67
        05-20-2021      SELL               17.4191          107.316
        05-20-2021      SELL               82.6239          107.315
        05-20-2021      BUY                       2         110.057
        05-20-2021      BUY                     3.7         110.057
        05-20-2021      BUY                 0.3152          110.057
        05-20-2021      BUY                    14.5         110.057
        05-20-2021      BUY                65.2827          110.057
        05-20-2021      BUY                 1.1007          110.057
        05-20-2021      BUY                10.7406          110.057
        05-20-2021      SELL                   3.11         124.673
        05-20-2021      SELL                      7         124.673
        05-20-2021      SELL                     19         124.673
        05-20-2021      SELL                8.3369          124.673
        05-20-2021      SELL                     11         124.673
        05-20-2021      SELL                7.8274          124.673
        05-20-2021      SELL                0.7966          124.673
        05-20-2021      SELL                   0.15         124.673
        05-20-2021      SELL                40.418          124.673
        05-20-2021      SELL                0.0003          124.673
        05-20-2021      BUY                  6.807          187.308
        05-20-2021      BUY                    6.39         187.311
                                      2
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                        Transaction                   Price Per
        Trade Date      Type              Quantity    Token
        05-20-2021      BUY                 5.1218          187.315
        05-20-2021      BUY                  5.812          187.315
        05-20-2021      BUY                25.8692          187.316
        05-20-2021      SELL                 0.017          175.368
        05-20-2021      SELL                5.2843          175.368
        05-20-2021      SELL                     10         175.368
        05-20-2021      SELL               34.6987          175.368
        05-20-2021      BUY                47.6285          177.876
        05-20-2021      BUY                 0.0328          178.014
        05-20-2021      BUY                 2.8158          178.015
        05-20-2021      BUY                 5.6171          178.029
        05-20-2021      BUY                 8.3552           178.03
        05-21-2021      SELL               47.0678          177.652
        05-21-2021      SELL                0.6745          177.567
        05-21-2021      SELL                0.0225          177.567
        05-21-2021      SELL                 6.519          177.567
        05-21-2021      SELL                10.165          177.567
        05-21-2021      SELL                0.0006          177.567
        05-21-2021      BUY                42.6186          168.221
        05-21-2021      BUY                 25.295          168.286
        05-21-2021      BUY                 0.0007          168.286
        05-21-2021      SELL                67.914              180
        05-21-2021      SELL                0.0003              180
        05-21-2021      BUY                23.0203          169.747
        05-21-2021      BUY                 5.9424          169.748
        05-21-2021      BUY                42.7725          169.979
        05-21-2021      BUY                  0.229          123.294
        05-21-2021      BUY                       1         123.294
        05-21-2021      BUY                       4         123.294
        05-21-2021      BUY                       4         123.294
        05-21-2021      BUY                       2         123.294
        05-21-2021      BUY                 18.539          123.294
        05-21-2021      BUY                       6         123.294
        05-21-2021      BUY                 4.7713          123.294
        05-22-2021      SELL                0.5048              142
        05-22-2021      SELL                7.2226              142
        05-22-2021      SELL                 10.68              142
        05-22-2021      SELL               70.3561              142
        05-22-2021      SELL                    4.9             142
        05-22-2021      SELL                     10             142
        05-22-2021      SELL                 8.611              142
                                      3
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                        Transaction                   Price Per
        Trade Date      Type              Quantity    Token
        05-22-2021      BUY                 8.0505          136.781
        05-22-2021      BUY                 7.2636          136.781
        05-22-2021      BUY                36.6851          136.782
        05-22-2021      BUY                36.5643          136.789
        05-22-2021      BUY                  4.113          136.796
        05-22-2021      BUY                  2.935          136.938
        05-22-2021      BUY                      10         136.976
        05-22-2021      BUY                 9.1527              137
        05-22-2021      SELL              114.7642              149
        05-22-2021      BUY                 7.0289          151.656
        05-22-2021      BUY                29.8842          151.657
        05-22-2021      BUY                13.7378          151.831
        05-22-2021      BUY                 3.2965          151.871
        05-22-2021      BUY                12.4924          151.884
        05-22-2021      BUY                46.9973          151.997
        05-22-2021      SELL                0.1408          153.534
        05-22-2021      SELL                     10         153.255
        05-22-2021      SELL               18.3693          153.254
        05-22-2021      SELL                84.927          153.254
        05-24-2021      BUY                 0.1187          143.796
        05-24-2021      BUY                14.4717           143.81
        05-24-2021      BUY                10.4406          143.888
        05-24-2021      BUY                 19.275           143.89
        05-24-2021      BUY                69.6107           143.89
        05-24-2021      BUY                 5.6762           143.89
        05-24-2021      BUY                 0.1029          143.626
        05-25-2021      SELL                0.0006          134.361
        05-25-2021      SELL                0.7978          134.197
        05-25-2021      SELL                      1         134.197
        05-25-2021      SELL                0.0363          134.197
        05-25-2021      SELL                1.8252          134.197
        05-25-2021      SELL                     71         134.197
        05-25-2021      SELL                      2         134.197
        05-25-2021      SELL                   4.29         134.197
        05-25-2021      SELL                      6         134.197
        05-25-2021      SELL                      2         134.197
        05-25-2021      SELL                      8         134.197
        05-25-2021      SELL                      5         134.197
        05-25-2021      SELL                     13         134.197
        05-25-2021      SELL                      4         134.197
        05-25-2021      SELL                 0.745          134.197
                                      4
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                        Transaction                   Price Per
        Trade Date      Type              Quantity    Token
        05-25-2021      SELL                0.0009          134.197
        05-27-2021      BUY                      10          136.34
        05-27-2021      BUY                 55.845          136.342
        05-27-2021      BUY                61.2276          136.345
        05-27-2021      BUY                    3.43         136.347
        05-27-2021      SELL               13.9121          134.047
        05-27-2021      SELL                36.725          133.994
        05-27-2021      SELL                9.7976          133.973
        05-27-2021      SELL                35.845          133.962
        05-27-2021      SELL               34.2229          133.962
        05-27-2021      BUY                       5         133.775
        05-27-2021      BUY                 30.419          133.775
        05-27-2021      SELL                0.0284          133.864
        05-27-2021      SELL                     17         133.864
        05-27-2021      SELL               18.3905          133.864
        05-27-2021      BUY                43.8533          131.803
        05-28-2021      SELL                     23         132.346
        05-28-2021      SELL                     15         132.346
        05-28-2021      SELL                 0.853          132.346
        05-28-2021      SELL                      5         132.346
        05-28-2021      SELL                0.0004          132.346
        05-30-2021      BUY                 89.861          111.061
        05-30-2021      SELL                0.0808          110.832
        05-30-2021      SELL               89.7802          110.832
        05-31-2021      BUY                  4.633          112.223
        05-31-2021      BUY                       1         112.223
        05-31-2021      BUY                      56         112.223
        05-31-2021      BUY                      19         112.223
        05-31-2021      BUY                  7.233          112.223
        05-31-2021      BUY                 1.0648          112.223
        05-31-2021      SELL               88.9308           111.06
        05-31-2021      BUY                 86.991          108.433
        05-31-2021      BUY                 0.0002          108.433
        05-31-2021      SELL               13.1107          108.366
        05-31-2021      SELL                      3         108.361
        05-31-2021      SELL                      2         108.361
        05-31-2021      SELL                     11         108.361
        05-31-2021      SELL                      1         108.361
        05-31-2021      SELL                     15         108.361
        05-31-2021      SELL                      8         108.361
        05-31-2021      SELL                   1.88         108.361
                                      5
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                        Transaction                   Price Per
        Trade Date      Type              Quantity    Token
        05-31-2021      SELL                14.653          108.361
        05-31-2021      SELL                17.347          108.361
        05-31-2021      SELL                0.0005          108.361
        06-04-2021      BUY                 5.3628          107.555
        06-04-2021      BUY                      30           107.6
        06-04-2021      BUY                       7           107.6
        06-04-2021      BUY                    4.66           107.6
        06-04-2021      BUY                      18           107.6
        06-04-2021      BUY                  3.403            107.6
        06-04-2021      BUY                 0.0007            107.6
        06-05-2021      SELL               30.2868          106.457
        06-05-2021      SELL                     14         106.435
        06-05-2021      SELL                10.058          106.432
        06-05-2021      SELL               14.0817          106.432
        06-11-2021      BUY                 6.5646           64.828
        06-11-2021      BUY                  8.435           64.828
        06-11-2021      BUY                 0.0004           64.828
        06-11-2021      SELL                      5          67.309
        06-11-2021      SELL                     10          67.309
        06-11-2021      BUY                      11          64.209
        06-11-2021      BUY                       4          64.218
        06-11-2021      SELL                     15          58.288
        06-11-2021      BUY                      16          58.716
        06-12-2021      SELL                     14          55.004
        06-12-2021      SELL                      2          54.999
        06-12-2021      BUY                15.8477           54.665
        06-14-2021      SELL                6.0599           68.844
        06-14-2021      SELL                 9.787           68.844
        06-14-2021      SELL                0.0008           68.844
        06-15-2021      BUY                     7.5          60.354
        06-15-2021      BUY                27.5159           60.355
        06-15-2021      BUY                 8.2905           60.355
        06-15-2021      BUY                 6.2983           60.382
        06-16-2021      SELL               29.8722            57.93
        06-16-2021      SELL                6.0109           57.922
        06-16-2021      SELL                8.6299            57.92
        06-16-2021      SELL                3.3775           57.918
        06-16-2021      SELL                0.1547           57.918
        06-16-2021      SELL                1.5595           57.918
        06-16-2021      BUY                28.3716           58.474
        06-16-2021      BUY                75.3639           58.475
                                      6
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                        Transaction                   Price Per
        Trade Date      Type              Quantity    Token
        06-16-2021      BUY                 98.865           58.475
        06-16-2021      BUY                      13          58.475
        06-16-2021      BUY                 0.0006           58.475
        06-16-2021      BUY                 0.1121           58.486
        06-17-2021      BUY                 0.0005           52.829
        06-17-2021      BUY                  3.802           52.865
        06-17-2021      BUY                  7.605           52.865
        06-17-2021      BUY                  3.802           52.865
        06-17-2021      BUY                 7.7054           52.877
        06-17-2021      BUY                      10            52.9
        06-17-2021      BUY                 4.8243             52.9
        06-17-2021      SELL                 9.317           51.601
        06-17-2021      SELL                 0.002             51.6
        06-17-2021      SELL                0.0025             51.6
        06-17-2021      SELL                0.0021             51.6
        06-17-2021      SELL                5.9007           51.597
        06-17-2021      SELL               29.6806           51.594
        06-17-2021      SELL                6.0883           51.586
        06-17-2021      SELL                9.6858            51.58
        06-17-2021      SELL              192.7734           51.564
        06-17-2021      BUY                117.758           52.527
        06-17-2021      BUY                 0.0009           52.527
        06-18-2021      SELL                19.581           53.361
        06-18-2021      SELL                    6.9          53.344
        06-18-2021      SELL                13.519           53.338
        06-18-2021      SELL                9.4516           52.844
        06-18-2021      SELL               20.5484           52.837
        06-18-2021      BUY                 5.0466           49.449
        06-18-2021      SELL               19.1299           47.183
        06-18-2021      SELL                26.328           47.152
        06-18-2021      SELL                 5.955           47.142
        06-18-2021      SELL                1.3926           47.131
        06-20-2021      BUY                       5          47.403
        06-20-2021      BUY                      49          47.403
        06-20-2021      BUY                25.7061           47.412
        06-20-2021      BUY                       4          47.416
        06-20-2021      BUY                13.3567           47.422
        06-20-2021      BUY                      41          47.427
        06-20-2021      BUY                 13.219           47.427
        06-20-2021      BUY                 5.8949           47.428
        06-20-2021      BUY                 6.0986           47.438
                                      7
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                        Transaction                  Price Per
        Trade Date      Type              Quantity   Token
        06-20-2021      BUY                10.0348          47.441
        06-20-2021      BUY                 6.1327          47.448
        06-20-2021      BUY                     44          47.448
        06-20-2021      BUY                12.7851          47.469
        06-20-2021      BUY                39.2966           47.47
        06-20-2021      SELL                    65           47.28
        06-20-2021      SELL                    15           47.28
        06-20-2021      SELL               15.1499           47.28
        06-20-2021      SELL                     5           47.28
        06-20-2021      SELL                     5           47.28
        06-20-2021      SELL                    10           47.28
        06-20-2021      SELL                     5           47.28
        06-20-2021      SELL                     5           47.28
        06-20-2021      SELL                    50           47.28
        06-20-2021      SELL                    10           47.28
        06-20-2021      SELL                    10           47.28
        06-20-2021      SELL                     5           47.28
        06-20-2021      SELL                    35           47.28
        06-20-2021      SELL                     5           47.28
        06-20-2021      SELL                5.0162           47.28
        06-20-2021      SELL                30.358           47.28
        06-20-2021      SELL                0.0004           47.28
        06-20-2021      BUY                10.1269          47.545
        06-20-2021      BUY                      5          47.553
        06-20-2021      BUY                29.6565          47.559
        06-20-2021      BUY                38.6715           47.57
        06-20-2021      BUY                 10.517          47.571
        06-20-2021      BUY                 6.1486          47.578
        06-20-2021      BUY                 31.556          47.582
        06-20-2021      BUY                 5.8722          47.588
        06-20-2021      BUY                      4          47.601
        06-20-2021      BUY                 6.1625          47.602
        06-20-2021      BUY                     10          47.612
        06-20-2021      BUY                115.628          47.622
        06-21-2021      SELL               19.1007          45.892
        06-21-2021      SELL                    15          45.892
        06-21-2021      SELL                    25          45.892
        06-21-2021      SELL                     5          45.892
        06-21-2021      SELL                 5.204          45.892
        06-21-2021      SELL                27.955          45.892
        06-21-2021      SELL                     5          45.892
                                      8
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                        Transaction                   Price Per
        Trade Date      Type              Quantity    Token
        06-21-2021      SELL                     15          45.892
        06-21-2021      SELL                     25          45.892
        06-21-2021      SELL                      5          45.892
        06-21-2021      SELL                     10          45.892
        06-21-2021      SELL               15.1499           45.892
        06-21-2021      SELL                      5          45.892
        06-21-2021      SELL                     20          45.892
        06-21-2021      SELL                     10          45.892
        06-21-2021      SELL                      5          45.892
        06-21-2021      SELL               60.9296           45.892
        06-21-2021      BUY                       4          46.151
        06-21-2021      BUY                 18.404           46.151
        06-21-2021      BUY                27.3168           46.152
        06-21-2021      BUY                 6.0292           46.175
        06-21-2021      BUY                     7.9          46.183
        06-21-2021      BUY                 6.2462           46.185
        06-21-2021      BUY                    52.5          46.188
        06-21-2021      BUY                  0.001           46.194
        06-21-2021      BUY                 5.8942           46.195
        06-21-2021      BUY                  0.001           46.204
        06-21-2021      BUY                66.7384           46.212
        06-21-2021      BUY                25.3863           46.213
        06-21-2021      BUY                  0.001           46.215
        06-21-2021      BUY                 6.3741           46.216
        06-21-2021      BUY                 1.6889           46.216
        06-21-2021      BUY                  0.001           46.225
        06-21-2021      BUY                26.9402           46.234
        06-21-2021      BUY                  0.001           46.235
        06-21-2021      BUY                  0.001           46.245
        06-21-2021      BUY                  0.001           46.255
        06-21-2021      BUY                 15.681           46.264
        06-21-2021      SELL                 0.001            45.58
        06-21-2021      SELL               29.6459           45.576
        06-21-2021      SELL                 0.001            45.57
        06-21-2021      SELL                 0.001            45.56
        06-21-2021      SELL               10.9645           45.558
        06-21-2021      SELL                   0.03           45.55
        06-21-2021      SELL                      1           45.55
        06-21-2021      SELL                 0.001            45.55
        06-21-2021      SELL                6.2191           45.542
        06-21-2021      SELL                 0.001            45.54
                                      9
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                        Transaction                 Price Per
        Trade Date      Type           Quantity     Token
        06-21-2021      SELL            32.8935             45.54
        06-21-2021      SELL                    4          45.536
        06-21-2021      SELL                38.8           45.534
        06-21-2021      SELL              0.001             45.53
        06-21-2021      SELL            25.1828            45.528
        06-21-2021      SELL                    3          45.526
        06-21-2021      SELL             6.0772            45.526
        06-21-2021      SELL              0.001             45.52
        06-21-2021      SELL             1.2102            45.513
        06-21-2021      SELL           112.0761            45.512
        06-21-2021      BUY               5.537             45.63
        06-21-2021      BUY                  185            45.63
        06-21-2021      BUY             15.1499             45.63
        06-21-2021      BUY             63.8565             45.63
        06-21-2021      SELL             6.1058            45.654
        06-21-2021      SELL                  6.4          45.654
        06-21-2021      SELL             6.2275            45.632
        06-21-2021      SELL                52.5           45.618
        06-21-2021      SELL            10.5408             45.61
        06-21-2021      SELL             24.396            45.605
        06-21-2021      SELL             24.824            45.605
        06-21-2021      SELL           138.5493              45.6
        06-21-2021      BUY              28.453            45.487
        06-21-2021      BUY              20.972             45.49
        06-21-2021      BUY              21.186             45.49
        06-21-2021      BUY                    41          45.491
        06-21-2021      BUY              16.838            45.492
        06-21-2021      BUY             11.7833            45.498
        06-21-2021      BUY             18.0531            45.499
        06-21-2021      BUY             111.335              45.5
        06-21-2021      BUY              0.0006              45.5
        06-21-2021      SELL                    5           45.02
        06-21-2021      SELL            121.748             45.02
        06-21-2021      SELL                    5           45.02
        06-21-2021      SELL                   40           45.02
        06-21-2021      SELL                   20           45.02
        06-21-2021      SELL                   20           45.02
        06-21-2021      SELL                    5           45.02
        06-21-2021      SELL             52.873             45.02
        06-21-2021      BUY                    25            44.5
        06-21-2021      BUY                    10            44.5
                                  10
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                        Transaction                Price Per
        Trade Date      Type           Quantity    Token
        06-21-2021      BUY                    5            44.5
        06-21-2021      BUY                  125            44.5
        06-21-2021      BUY                   55            44.5
        06-21-2021      BUY                   10            44.5
        06-21-2021      BUY              10.729             44.5
        06-21-2021      BUY               2.207             44.5
        06-21-2021      BUY             15.1499             44.5
        06-21-2021      BUY              14.121             44.5
        06-21-2021      BUY              0.0005             44.5
        06-21-2021      SELL            176.947             43.6
        06-21-2021      SELL              1.999             43.6
        06-21-2021      SELL              5.279             43.6
        06-21-2021      SELL              9.616             43.6
        06-21-2021      SELL            15.7821             43.6
        06-21-2021      SELL             23.104             43.6
        06-21-2021      SELL            39.4803             43.6
        06-21-2021      BUY              6.1988           44.658
        06-21-2021      BUY                   15           44.67
        06-21-2021      BUY             16.3416           44.671
        06-21-2021      BUY              6.0627           44.672
        06-21-2021      BUY                 11.2          44.679
        06-21-2021      BUY              43.977            44.68
        06-21-2021      BUY             10.9859            44.68
        06-21-2021      BUY              135.89            44.68
        06-21-2021      BUY             19.5528            44.68
        06-21-2021      SELL             6.1109           43.602
        06-21-2021      SELL            28.8916           43.594
        06-21-2021      SELL             6.1654           43.589
        06-21-2021      SELL            11.0316           43.581
        06-21-2021      SELL             5.8494            43.58
        06-21-2021      SELL            15.1499           43.579
        06-21-2021      SELL            38.6715           43.568
        06-21-2021      SELL                  30          43.567
        06-21-2021      SELL             35.499           43.567
        06-21-2021      SELL            15.1499           43.567
        06-21-2021      SELL                   5          43.567
        06-21-2021      SELL             34.002           43.567
        06-21-2021      SELL                   5          43.567
        06-21-2021      SELL                  15          43.567
        06-21-2021      SELL                  10          43.567
        06-21-2021      SELL             3.6876           43.567
                                  11
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                        Transaction               Price Per
        Trade Date      Type           Quantity   Token
        06-21-2021      BUY              15.751          39.611
        06-21-2021      BUY                  60          39.611
        06-21-2021      BUY                 165          39.611
        06-21-2021      BUY                  40          39.611
        06-21-2021      BUY                   5          39.611
        06-21-2021      BUY               5.292          39.611
        06-21-2021      SELL                  7          37.359
        06-21-2021      SELL             2.5838          37.359
        06-21-2021      SELL             10.483          37.359
        06-21-2021      SELL             13.357          37.359
        06-21-2021      SELL                 35          37.359
        06-21-2021      SELL              9.432          37.359
        06-21-2021      SELL                 10          37.359
        06-21-2021      SELL                 15          37.359
        06-21-2021      SELL                 30          37.359
        06-21-2021      SELL                 20          37.359
        06-21-2021      SELL                 20          37.359
        06-21-2021      SELL                  5          37.359
        06-21-2021      SELL                 20          37.359
        06-21-2021      SELL            93.1872          37.359
        06-22-2021      BUY                  13          35.737
        06-22-2021      BUY              6.0201          35.741
        06-22-2021      BUY             40.9799          35.744
        06-23-2021      SELL            10.2844          39.334
        06-23-2021      SELL             18.163          39.334
        06-23-2021      SELL             31.552          39.334
        06-23-2021      SELL             0.0006          39.334
        06-23-2021      BUY             274.802          38.814
        06-23-2021      BUY              0.0006          38.814
        06-23-2021      SELL              0.238          37.601
        06-23-2021      SELL                 26          37.601
        06-23-2021      SELL                 57           37.43
        06-23-2021      SELL                 18           37.43
        06-23-2021      SELL              7.898           37.43
        06-23-2021      SELL             25.021           37.43
        06-23-2021      SELL                106           37.43
        06-23-2021      SELL                 10           37.43
        06-23-2021      SELL                  5           37.43
        06-23-2021      SELL            19.6456           37.43
        06-24-2021      BUY                   5           37.16
        06-24-2021      BUY                   5           37.16
                                  12
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                        Transaction                Price Per
        Trade Date      Type           Quantity    Token
        06-24-2021      BUY                   25           37.16
        06-24-2021      BUY              22.286            37.16
        06-24-2021      BUY                   55           37.16
        06-24-2021      BUY             151.575            37.16
        06-24-2021      BUY              0.0008            37.16
        06-24-2021      SELL                0.56          34.582
        06-24-2021      SELL              4.029           34.582
        06-24-2021      SELL             3.4717           34.582
        06-24-2021      SELL            65.7349           34.582
        06-24-2021      SELL             2.8817           34.582
        06-24-2021      SELL                   1          34.582
        06-24-2021      SELL            21.4836           34.582
        06-24-2021      SELL             28.779           34.582
        06-24-2021      SELL             30.296           34.582
        06-24-2021      SELL            26.7235           34.582
        06-24-2021      SELL             9.7721           34.582
        06-24-2021      SELL            15.1499           34.582
        06-24-2021      SELL                   1          34.582
        06-24-2021      SELL             38.467           34.582
        06-24-2021      SELL             9.1749           34.582
        06-24-2021      SELL              5.338           34.582
        06-24-2021      SELL             0.0005           34.582
        06-24-2021      BUY               5.864           34.729
        06-24-2021      BUY               5.951           34.729
        06-24-2021      BUY              6.1345           34.729
        06-24-2021      BUY               6.596           34.729
        06-24-2021      BUY               5.789           34.729
        06-24-2021      BUY               5.106           34.729
        06-24-2021      BUY               4.166           34.748
        06-24-2021      BUY               4.403           34.748
        06-24-2021      BUY               4.911           34.748
        06-24-2021      BUY                   10          34.772
        06-24-2021      BUY                   67          34.772
        06-24-2021      BUY                    4          34.774
        06-24-2021      BUY                    2          34.781
        06-24-2021      BUY               6.985           34.781
        06-24-2021      BUY                   20          34.781
        06-24-2021      BUY                    5          34.781
        06-24-2021      BUY                   50          34.781
        06-24-2021      BUY                    5          34.781
        06-24-2021      BUY              63.545           34.781
                                  13
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                        Transaction               Price Per
        Trade Date      Type           Quantity   Token
        06-24-2021      BUY              0.0003          34.781
        06-25-2021      SELL            13.6634           34.75
        06-25-2021      SELL            15.1499           34.75
        06-25-2021      SELL                 25           34.75
        06-25-2021      SELL                  5           34.75
        06-25-2021      SELL                 45           34.75
        06-25-2021      SELL                 40           34.75
        06-25-2021      SELL            138.637           34.75
        06-25-2021      SELL             0.0005           34.75
        06-25-2021      BUY                  13          34.619
        06-25-2021      BUY             58.9961          34.621
        06-25-2021      BUY             55.8071          34.623
        06-25-2021      BUY               1.274          34.623
        06-25-2021      BUY                  73          34.624
        06-25-2021      BUY              15.522          34.624
        06-25-2021      BUY                  10          34.624
        06-25-2021      BUY                  30          34.624
        06-25-2021      BUY                  10          34.624
        06-25-2021      BUY                   5          34.624
        06-25-2021      BUY              17.723          34.624
        06-25-2021      BUY              0.0009          34.624
        06-25-2021      SELL            14.1686          34.847
        06-25-2021      SELL             62.942          34.847
        06-25-2021      SELL           213.2125          34.847
        06-25-2021      BUY             277.233           34.49
        06-25-2021      BUY              15.431           34.49
        06-25-2021      SELL                  2           34.73
        06-25-2021      SELL           290.6628           34.73
        06-25-2021      BUY               4.632              35
        06-25-2021      BUY               5.913              35
        06-25-2021      BUY             279.394              35
        06-25-2021      BUY              0.0003              35
        06-25-2021      SELL             37.702            35.3
        06-25-2021      SELL                 25            35.3
        06-25-2021      SELL                  2            35.3
        06-25-2021      SELL                 75            35.3
        06-25-2021      SELL           150.2373            35.3
        06-27-2021      BUY                   5          37.872
        06-27-2021      BUY                  10          37.872
        06-27-2021      BUY              40.978          37.872
        06-27-2021      BUY              0.0009          37.872
                                  14
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                        Transaction                Price Per
        Trade Date      Type           Quantity    Token
        06-27-2021      SELL                  11          43.782
        06-27-2021      SELL                   7          43.755
        06-27-2021      SELL            37.9789           43.751
        06-28-2021      BUY              40.339           42.897
        06-28-2021      BUY              4.3634           42.898
        06-28-2021      SELL                  17          46.089
        06-28-2021      SELL             5.9222           46.088
        06-28-2021      SELL            21.7802           46.088
        06-29-2021      BUY             26.1175           57.063
        06-29-2021      BUY              8.2511           57.064
        06-29-2021      SELL             0.4473           57.878
        06-29-2021      SELL                   1          57.878
        06-29-2021      SELL             32.921           57.878
        06-29-2021      SELL             0.0003           57.878
        06-30-2021      BUY              1.3649           44.839
        06-30-2021      BUY                    2          44.839
        06-30-2021      BUY              22.725           44.839
        06-30-2021      BUY                    5          44.839
        06-30-2021      BUY                    6          44.839
        06-30-2021      BUY              5.1408           44.839
        06-30-2021      SELL            20.9717           46.681
        06-30-2021      SELL             21.259           46.681
        07-16-2021      BUY                  145          34.924
        07-16-2021      BUY                    5          34.924
        07-16-2021      BUY                   15          34.924
        07-16-2021      BUY                   40          34.924
        07-16-2021      BUY                    5          34.924
        07-16-2021      BUY                   25          34.924
        07-16-2021      BUY              20.771           34.924
        07-16-2021      BUY                   30          34.924
        07-16-2021      BUY              0.0003           34.924
        07-16-2021      SELL                  21          34.436
        07-16-2021      SELL            23.0988           34.434
        07-16-2021      SELL            42.8311           34.433
        07-16-2021      SELL                42.5          34.426
        07-16-2021      SELL           144.9671           34.425
        07-16-2021      SELL            11.3743           34.425
        07-17-2021      BUY             16.6059           32.849
        07-17-2021      BUY                   16           32.85
        07-17-2021      BUY                    4          32.851
        07-17-2021      BUY              363.74           32.851
                                  15
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                        Transaction               Price Per
        Trade Date      Type           Quantity   Token
        07-17-2021      BUY                   5          32.851
        07-17-2021      BUY             169.076          32.851
        07-17-2021      BUY                  10          32.851
        07-17-2021      BUY              0.0002          32.851
        07-20-2021      SELL                  4          29.875
        07-20-2021      SELL             17.762          29.874
        07-20-2021      SELL             8.8573          29.873
        07-20-2021      SELL             9.3913          29.865
        07-20-2021      SELL            42.6419          29.861
        07-20-2021      SELL             6.7093          29.857
        07-20-2021      SELL             0.1214          29.857
        07-20-2021      SELL             8.6976           29.85
        07-20-2021      SELL            17.3855          29.839
        07-20-2021      SELL            53.8189          29.835
        07-20-2021      SELL           415.0369          29.835
        07-20-2021      BUY             43.5169          29.943
        07-20-2021      BUY             320.866          29.946
        07-20-2021      BUY                 110          29.946
        07-20-2021      BUY             101.149          29.946
        07-20-2021      BUY              0.0003          29.946
        07-20-2021      BUY               0.534          29.992
        07-20-2021      BUY              0.0005          29.992
        07-20-2021      SELL             8.8314          29.085
        07-20-2021      SELL                 14          29.074
        07-20-2021      SELL             5.0085          29.072
        07-20-2021      SELL           102.7977          29.071
        07-20-2021      SELL            27.0725          29.068
        07-20-2021      SELL             8.7836          29.063
        07-20-2021      SELL                170          29.063
        07-20-2021      SELL             46.157          29.062
        07-20-2021      SELL            118.342          29.061
        07-20-2021      SELL             75.074          29.057
        07-20-2021      BUY              2.8774          28.648
        07-20-2021      BUY              41.336          28.648
        07-20-2021      BUY                 230          28.648
        07-20-2021      BUY                  20          28.648
        07-20-2021      BUY                  65          28.648
        07-20-2021      BUY                   5          28.648
        07-20-2021      BUY                  10          28.648
        07-20-2021      BUY                  35          28.648
        07-20-2021      BUY             127.445          28.648
                                  16
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                        Transaction               Price Per
        Trade Date      Type           Quantity   Token
        07-20-2021      BUY                  10          28.648
        07-20-2021      BUY                  35          28.648
        07-20-2021      BUY              0.0004          28.648
        07-20-2021      BUY              1.0231          28.593
        07-20-2021      SELL           173.4152           27.92
        07-20-2021      SELL           210.1968           27.92
        07-20-2021      SELL             16.448           27.92
        07-20-2021      SELL                 15          27.888
        07-20-2021      SELL             22.042          27.885
        07-20-2021      SELL            28.9835          27.883
        07-20-2021      SELL             9.4059           27.88
        07-20-2021      SELL            47.1252          27.876
        07-20-2021      SELL            30.2575          27.875
        07-20-2021      SELL            29.8078           27.87
        07-21-2021      BUY            285.8887           33.49
        07-22-2021      SELL             22.725          34.536
        07-22-2021      SELL                 71          34.536
        07-22-2021      SELL                  2           34.53
        07-22-2021      SELL             48.018           34.53
        07-22-2021      SELL                  5           34.53
        07-22-2021      SELL              7.145           34.53
        07-22-2021      SELL              7.145           34.53
        07-22-2021      SELL                 15           34.53
        07-22-2021      SELL           107.8556           34.53
        07-24-2021      BUY                  22          35.049
        07-24-2021      BUY             42.8386          35.049
        07-24-2021      BUY                  22          35.049
        07-24-2021      BUY                  22          35.049
        07-24-2021      BUY             153.557          35.049
        07-24-2021      BUY                   2          35.049
        07-24-2021      BUY             19.5647          35.049
        07-24-2021      SELL             0.2561          37.749
        07-24-2021      SELL             0.0794          37.749
        07-24-2021      SELL             2.6362          37.749
        07-24-2021      SELL            12.9502          37.749
        07-24-2021      SELL             0.5093          37.749
        07-24-2021      SELL           179.0554          37.749
        07-24-2021      SELL             4.8039          37.749
        07-24-2021      SELL             1.2662          37.749
        07-24-2021      SELL             82.403          37.749
        07-24-2021      SELL             0.0007          37.749
                                  17
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                        Transaction                Price Per
        Trade Date      Type           Quantity    Token
        07-24-2021      BUY             56.2847           38.255
        07-24-2021      BUY             44.1343           38.256
        07-24-2021      BUY              8.2494           38.261
        07-24-2021      BUY             152.123            38.27
        07-24-2021      BUY              0.0002            38.27
        07-24-2021      SELL                   9           38.88
        07-24-2021      SELL             26.307            38.88
        07-24-2021      SELL                  20           38.88
        07-24-2021      SELL            205.484            38.88
        07-24-2021      SELL             0.0006            38.88
        07-24-2021      BUY                 6.22          42.907
        07-24-2021      BUY            226.3955           42.907
        07-24-2021      SELL                  10          43.364
        07-24-2021      SELL             9.0695           43.359
        07-24-2021      SELL            34.6037           43.348
        07-24-2021      SELL                  15          43.347
        07-24-2021      SELL            77.3422           43.345
        07-24-2021      SELL              3.185           43.342
        07-24-2021      SELL                  73          43.342
        07-24-2021      SELL             8.6103            43.33
        07-24-2021      SELL             1.8048           43.316
        07-24-2021      BUY             35.8928           44.802
        07-24-2021      BUY             33.4792           44.804
        07-24-2021      BUY              32.956           44.806
        07-24-2021      BUY                   83          44.811
        07-24-2021      BUY             19.7952           44.811
        07-24-2021      BUY             17.1572           44.824
        07-24-2021      SELL              0.001            43.72
        07-24-2021      SELL              0.001            43.71
        07-24-2021      SELL                   1            43.7
        07-24-2021      SELL              0.001             43.7
        07-24-2021      SELL                  10            43.7
        07-24-2021      SELL              11.52             43.7
        07-24-2021      SELL            10.3418           43.673
        07-24-2021      SELL            67.1948           43.673
        07-24-2021      SELL            36.7994           43.673
        07-24-2021      SELL            15.8228           43.672
        07-24-2021      SELL             29.104            43.67
        07-24-2021      SELL            40.4946            43.67
        07-24-2021      BUY             58.0762           41.371
        07-24-2021      BUY              1.3106           41.374
                                  18
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                        Transaction               Price Per
        Trade Date      Type           Quantity   Token
        07-24-2021      BUY                   9          41.374
        07-24-2021      BUY             161.497          41.374
        07-24-2021      BUY              0.4159          41.374
        07-24-2021      SELL            33.6613            43.7
        07-24-2021      SELL             59.033            43.7
        07-24-2021      SELL                 20            43.7
        07-24-2021      SELL                 15            43.7
        07-24-2021      SELL              8.572            43.7
        07-24-2021      SELL            94.0334            43.7
        07-25-2021      BUY             203.595          43.211
        07-25-2021      BUY             27.2095          43.245
        07-25-2021      SELL                  4          43.301
        07-25-2021      SELL                 10          43.301
        07-25-2021      SELL            37.1173          43.299
        07-25-2021      SELL             0.9555          43.292
        07-25-2021      SELL                 76          43.292
        07-25-2021      SELL             19.795          43.291
        07-25-2021      SELL            42.6004           43.29
        07-25-2021      SELL            40.3363          43.288
        07-25-2021      BUY             35.6484          42.141
        07-25-2021      BUY             35.6424          42.141
        07-25-2021      BUY             20.2457          42.141
        07-25-2021      BUY            145.4839          42.141
        07-25-2021      SELL             0.0451           43.21
        07-25-2021      SELL              1.106           43.21
        07-25-2021      SELL             1.2143           43.21
        07-25-2021      SELL             0.0686          43.144
        07-25-2021      SELL             0.0311          43.144
        07-25-2021      SELL             22.725          43.144
        07-25-2021      SELL                  2          43.144
        07-25-2021      SELL              3.999          43.144
        07-25-2021      SELL             6.8492          43.144
        07-25-2021      SELL             22.725          43.144
        07-25-2021      SELL             0.6462          43.144
        07-25-2021      SELL             0.0689          43.144
        07-25-2021      SELL            175.542          43.144
        07-25-2021      BUY               4.819          41.725
        07-25-2021      BUY             46.7221          41.725
        07-25-2021      BUY             11.0116           41.74
        07-25-2021      BUY                   2           41.74
        07-25-2021      BUY              38.668          41.813
                                  19
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                        Transaction                Price Per
        Trade Date      Type           Quantity    Token
        07-25-2021      BUY                   18          41.816
        07-25-2021      BUY             45.5358           41.822
        07-25-2021      BUY              23.326           41.822
        07-25-2021      BUY             48.9168           41.823
        07-25-2021      SELL              9.588           42.349
        07-25-2021      SELL            15.2148           42.349
        07-25-2021      SELL            37.9499           42.349
        07-25-2021      SELL             9.4216           42.344
        07-25-2021      SELL                  88          42.344
        07-25-2021      SELL            15.2148           42.337
        07-25-2021      SELL             8.9704           42.334
        07-25-2021      SELL            47.1912           42.331
        07-25-2021      SELL             7.4486            42.33
        07-25-2021      BUY             47.8442           41.546
        07-25-2021      BUY                   22           41.59
        07-25-2021      BUY            170.5234            41.59
        07-25-2021      SELL                   2              42
        07-25-2021      SELL                  10              42
        07-25-2021      SELL             22.725               42
        07-25-2021      SELL                   2              42
        07-25-2021      SELL             16.998               42
        07-25-2021      SELL                  22              42
        07-25-2021      SELL                  22              42
        07-25-2021      SELL           142.6446               42
        07-25-2021      BUY              22.725            41.24
        07-25-2021      BUY              24.881            41.24
        07-25-2021      BUY               5.207            41.24
        07-25-2021      BUY            189.1972            41.24
        07-25-2021      SELL            39.3406           40.852
        07-25-2021      SELL            53.9895           40.851
        07-25-2021      SELL            50.7048           40.849
        07-25-2021      SELL                10.7          40.849
        07-25-2021      SELL            13.6955           40.847
        07-25-2021      SELL            15.1304           40.846
        07-25-2021      SELL                  15          40.843
        07-25-2021      SELL            43.4494           40.842
        07-25-2021      BUY             14.8748           42.851
        07-25-2021      BUY                   22          42.851
        07-25-2021      BUY                   10          42.851
        07-25-2021      BUY              8.0652           42.851
        07-25-2021      BUY             47.6943           42.851
                                  20
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                        Transaction               Price Per
        Trade Date      Type           Quantity   Token
        07-25-2021      BUY             64.5619          42.851
        07-25-2021      BUY              12.898          42.851
        07-25-2021      BUY              22.057          42.851
        07-25-2021      BUY             23.2111          42.851
        07-25-2021      BUY              3.7824          42.851
        07-25-2021      SELL             8.4043          42.315
        07-25-2021      SELL                 20          42.301
        07-25-2021      SELL              8.466          42.301
        07-25-2021      SELL                  4          42.297
        07-25-2021      SELL                 10          42.279
        07-25-2021      SELL            31.4336          42.273
        07-25-2021      SELL                 67          42.262
        07-25-2021      SELL             22.725           42.26
        07-25-2021      SELL            57.1158           42.26
        07-25-2021      BUY                   2           41.85
        07-25-2021      BUY            228.8403           41.85
        07-25-2021      SELL            22.4217            42.7
        07-25-2021      SELL            12.7544            42.7
        07-25-2021      SELL            195.664            42.7
        07-25-2021      SELL             0.0002            42.7
        07-26-2021      BUY                  18          45.022
        07-26-2021      BUY             68.2697          45.022
        07-26-2021      BUY            129.1701          45.023
        07-26-2021      SELL                  1           44.27
        07-26-2021      SELL              8.988          44.148
        07-26-2021      SELL            47.8562          44.147
        07-26-2021      SELL           102.6491           44.14
        07-26-2021      SELL             9.0033          44.137
        07-26-2021      SELL                 15          44.134
        07-26-2021      SELL            30.9432          44.133
        07-26-2021      BUY             86.9634          43.866
        07-26-2021      BUY              58.051          43.866
        07-26-2021      BUY              70.325          43.866
        07-26-2021      BUY              0.0006          43.866
        07-26-2021      BUY              0.2149          43.815
        07-26-2021      SELL            91.7433              44
        07-26-2021      SELL             4.4226              44
        07-26-2021      SELL                  1              44
        07-26-2021      SELL                 20              44
        07-26-2021      SELL                  5              44
        07-26-2021      SELL                  5              44
                                  21
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                        Transaction              Price Per
        Trade Date      Type           Quantity Token
        07-26-2021      SELL             13.068             44
        07-26-2021      SELL                  10            44
        07-26-2021      SELL                   5            44
        07-26-2021      SELL              2.253             44
        07-26-2021      SELL                   5            44
        07-26-2021      SELL                   5            44
        07-26-2021      SELL                   5            44
        07-26-2021      SELL                  15            44
        07-26-2021      SELL             13.068             44
        07-26-2021      SELL                  15            44
        07-26-2021      BUY              9.2875         43.589
        07-26-2021      BUY             27.0725          43.59
        07-26-2021      BUY              8.6482         43.599
        07-26-2021      BUY                   81        43.599
        07-26-2021      BUY             36.6435         43.606
        07-26-2021      BUY              9.0807         43.609
        07-26-2021      BUY              22.725          43.61
        07-26-2021      BUY              22.276          43.61
        07-26-2021      BUY              0.0005          43.61
        07-26-2021      SELL              0.001           44.9
        07-26-2021      SELL             71.855           44.9
        07-26-2021      SELL                  25          44.9
        07-26-2021      SELL                  55          44.9
        07-26-2021      SELL             64.877           44.9
        07-26-2021      SELL             0.0009           44.9
        07-26-2021      BUY             34.9545         45.336
        07-26-2021      BUY                    4        45.337
        07-26-2021      BUY             174.008         45.337
        07-26-2021      BUY              0.0004         45.337
        07-26-2021      SELL            67.4951         45.963
        07-26-2021      SELL                22.5        45.962
        07-26-2021      SELL            71.7136         45.961
        07-26-2021      SELL             9.2042         45.958
        07-26-2021      SELL              42.05         45.947
        07-26-2021      BUY             35.0035         44.223
        07-26-2021      BUY             19.8541         44.226
        07-26-2021      BUY             13.0585         44.231
        07-26-2021      BUY              5.0062         44.241
        07-26-2021      BUY              5.0262         44.242
        07-26-2021      BUY              9.1791         44.243
        07-26-2021      BUY              9.7101         44.248
                                  22
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                        Transaction                Price Per
        Trade Date      Type           Quantity    Token
        07-26-2021      BUY              5.0263           44.253
        07-26-2021      BUY              9.3407           44.254
        07-26-2021      BUY              43.442           44.265
        07-26-2021      BUY              43.121           44.265
        07-26-2021      BUY              15.197            44.27
        07-26-2021      SELL             5.0062           42.557
        07-26-2021      SELL                  76          42.556
        07-26-2021      SELL            48.1339           42.548
        07-26-2021      SELL            24.5245           42.546
        07-26-2021      SELL             5.0262            42.52
        07-26-2021      SELL            24.5245           42.519
        07-26-2021      SELL            29.7494           42.519
        07-26-2021      BUY            209.0689            42.39
        07-26-2021      SELL             8.4516           41.849
        07-26-2021      SELL              9.438           41.832
        07-26-2021      SELL             8.6101           41.831
        07-26-2021      SELL                  65          41.829
        07-26-2021      SELL             9.6629           41.819
        07-26-2021      SELL                  84          41.811
        07-26-2021      SELL            23.9063           41.796
        07-26-2021      BUY              8.7399           41.243
        07-26-2021      BUY             38.8488           41.243
        07-26-2021      BUY             27.0725           41.247
        07-26-2021      BUY             33.1059           41.249
        07-27-2021      SELL            62.5309           39.311
        07-27-2021      SELL                22.5           39.31
        07-27-2021      SELL            22.7362           39.309
        07-27-2021      BUY              3.4085           38.274
        07-27-2021      BUY                    5          38.274
        07-27-2021      BUY                    5          38.274
        07-27-2021      BUY                   15          38.274
        07-27-2021      BUY                   15          38.274
        07-27-2021      BUY                    5          38.274
        07-27-2021      BUY                    5          38.274
        07-27-2021      BUY                    5          38.274
        07-27-2021      BUY                   25          38.274
        07-27-2021      BUY                   45          38.274
        07-27-2021      BUY                   15          38.274
        07-27-2021      BUY                   25          38.274
        07-27-2021      BUY                   20          38.274
        07-27-2021      BUY                    5          38.274
                                  23
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                        Transaction                Price Per
        Trade Date      Type           Quantity    Token
        07-27-2021      BUY             26.3093           38.274
        07-27-2021      SELL                 8.9          37.851
        07-27-2021      SELL             27.713           37.847
        07-27-2021      SELL             9.9281           37.841
        07-27-2021      SELL             14.651           37.835
        07-27-2021      SELL             9.8177           37.833
        07-27-2021      SELL            51.3988           37.825
        07-27-2021      SELL             8.8039           37.822
        07-27-2021      SELL             88.505            37.82
        07-27-2021      SELL             0.0003            37.82
        07-27-2021      BUY               60.68             38.7
        07-27-2021      BUY                    5            38.7
        07-27-2021      BUY                   35            38.7
        07-27-2021      BUY                   15            38.7
        07-27-2021      BUY                   15            38.7
        07-27-2021      BUY                   20            38.7
        07-27-2021      BUY             63.5781             38.7
        07-27-2021      SELL           189.3273             38.1
        07-27-2021      SELL             9.3007           38.053
        07-27-2021      SELL            15.6301           38.053
        07-27-2021      BUY              21.614           38.537
        07-27-2021      BUY             44.5328           38.538
        07-27-2021      BUY             52.0381            38.55
        07-27-2021      BUY              93.182            38.55
        07-27-2021      BUY              0.0004            38.55
        07-27-2021      SELL                  16          39.455
        07-27-2021      SELL            27.0725            39.45
        07-27-2021      SELL           168.2948            39.45
        07-28-2021      BUY             15.6114           43.732
        07-28-2021      BUY                   85          43.732
        07-28-2021      BUY             34.2826           43.754
        07-28-2021      BUY             58.3022           43.755
        07-28-2021      SELL            193.196            43.37
        07-28-2021      SELL             0.0002            43.37
        07-28-2021      BUY             199.483           41.084
        07-28-2021      BUY              0.0005           41.084
        07-28-2021      SELL            199.483           40.337
        07-28-2021      SELL             0.0005           40.337
        08-01-2021      BUY              9.8231           41.224
        08-01-2021      BUY              22.725           41.224
        08-01-2021      BUY             15.8803           41.224
                                  24
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                        Transaction               Price Per
        Trade Date      Type           Quantity   Token
        08-04-2021      SELL            44.4405          39.961
        08-04-2021      SELL             2.7397          39.961
        08-04-2021      SELL             1.2482          39.961




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